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          REPORT
          A CLAIM
      QUICK. CONVENIENT.
      FOCUSED.

         TELL US WHAT HAPPENED AND WE’LL IMMEDIATELY BEGIN TO DELIVER THE
                 AWESOME SERVICE THAT IS THE HALLMARK OF PROSIGHT.


   We’ll focus first on assuring your well-being. Then, we’ll tend to every detail of your claim with care.




                                        EMAIL                  claims@prosightspecialty.com



                                        FAX                    1-855-657-3534


                                                              ProSight Specialty Insurance Claims Department
                                        MAIL                  412 Mt. Kemble Avenue Suite 300C
                                                              Morristown, NJ 07960


                                        PHONE                  1-800-774-2755
                                                               Press ‘1’ to Report a Claim / Anytime - days, nights & weekends
                                                               For inquiries on previously reported claims:
                                                               Press ‘2’ Workers’ Compensation Claims
                                                               Press ‘3’ All Other Claims



                                         ONLINE                customer.prosightspecialty.com




PN 04 99 37   11/17   As used herein, “ProSight” refers to the insurers of ProSight Specialty Insurance Group underwriting insurance policies or bonds, which include
                      New York Marine and General Insurance Company, Gotham Insurance Company and Southwest Marine and General Insurance Company.
                      Actual coverage is specified by the policies or bonds issued. ProSight Specialty, 412 Mt Kemble Ave, Morristown, NJ 07960.
                                                                                                                                                Exhibit B - 002
       Case 2:22-cv-04685 Document 1-1 Filed 07/08/22 Page 2 of 66 Page ID #:14
NEW YORK MARINE AND GENERAL INSURANCE COMPANY
                                59 Maiden Lane, 27th Floor
                                New York, NY 10038-4647

                  COMMON POLICY DECLARATIONS
POLICY NUMBER: GL201800012500                  PREVIOUS POLICY NUMBER: NEW
            COMPANY NAME                                     PRODUCER NAME                   00609
New York Marine and General Insurance            Integro USA, Inc.
Company                                          21650 Oxnard St., Suite 2350
59 Maiden Lane, 27th Floor                       Woodland Hills, CA 91367-7824
New York, NY 10038-4647



NAMED INSURED: Under the Black Sky, Inc.
               As Per Named Insured Extension Schedule

MAILING ADDRESS: c/o MACIAS, GINI & O'CONNELL
                 2029 Century Park East, #1500
                 Los Angeles, CA 90067
POLICY PERIOD: FROM      07/18/2018      TO    07/18/2019
               AT 12:01 A.M. STANDARD TIME AT YOUR MAILING ADDRESS SHOWN ABOVE.

BUSINESS DESCRIPTION Shell Corporation

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS
                 INDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
                                                                          PREMIUM
 COMMERCIAL GENERAL LIABILITY COVERAGE PART
 TERRORISM - CERTIFIED ACTS (GENERAL LIABILITY)
                                                                TOTAL:




IL DS 00 09 08                  c   ISO Properties, Inc., 2007                   Page 1 of 3
                                            Original
                                                                                 Exhibit B - 003
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POLICY NUMBER: GL201800012500

FORMS APPLICABLE TO ALL COVERAGE PARTS (SHOW NUMBERS):

 See Schedule of Forms and Endorsements.




Countersigned                                     By:

                   (Date)                                        (Authorized Representative)




IL DS 00 09 08                  c   ISO Properties, Inc., 2007                          Page 2 of 3
                                            Original
                                                                                        Exhibit B - 004
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                    NAMED INSURED EXTENSION SCHEDULE

 POLICY NUMBER:                                EFFECTIVE DATE:
   GL201800012500                                 07/18/2018


Under the Black Sky, Inc.
Amber Heard, an Individual




                                        Original                          Exhibit B - 005
IL DS 00 09 08                                                             Page 3 of 3
   Case 2:22-cv-04685 Document 1-1 Filed 07/08/22 Page 5 of 66 Page ID #:17




                                           SIGNATURE PAGE

In witness whereof, New York Marine and General Insurance Company has caused this policy
to be signed by its president and secretary.




Joseph J. Beneducci                                 Frank D. Papalia
President                                           Secretary




Named Insured: Under the Black Sky, Inc.
Policy #:      GL201800012500
Policy Period: 07/18/2018 - 07/18/2019

IL 0001 (1010)
                                                                                      Exhibit B - 006
            Case 2:22-cv-04685 Document 1-1 Filed 07/08/22 Page 6 of 66 Page ID #:18

                         SCHEDULE OF FORMS AND ENDORSEMENTS

 POLICY NUMBER:                                     EFFECTIVE DATE:
   GL201800012500                                      07/18/2018

NUMBER                   TITLE

                         COMMON

IL   DS 00 (09-08)       Common Policy Declarations
IL   0001 (10-10)        Signature Page
IL   00 03 (09-08)       Calculation Of Premium
IL   09 85 (01-15)       Disclosure Pursuant To Terrorism Risk Insurance Act
IL   00 17 (11-98)       Common Policy Conditions
IL   00 21 (09-08)       Nuclear Energy Liability Exclusion Endorsement (Broad Form)
IL   02 70 (09-12)       California Changes - Cancellation And Nonrenewal

                         GENERAL LIABILITY

DL   24   33   (05-04)   Workers Compensation Certain Residence Employees - California
CG   DS   01   (10-01)   Commercial General Liability Declarations
CG   00   01   (12-07)   Commercial General Liability Coverage Form
CG   00   68   (05-09)   Recording And Distribution Of Material Or Information In Violation Of
                         Law Exclusion
CG 20 11 (01-96)         Additional Insured - Managers Or Lessors Of Premises
CG 20 23 (10-93)         Additional Insured - Executors, Administrators, Trustees Or
                         Beneficiaries
CG 20 34 (07-04)         Additional Insured - Lessor Of Leased Equipment - Automatic Status
                         When Required In Lease Agreement With You
CG   21   46   (07-98)   Abuse or Molestation Exclusion
CG   21   47   (12-07)   Employment-Related Practices Exclusion
CG   21   67   (12-04)   Fungi or Bacteria Exclusion
CG   21   70   (01-15)   Cap on Losses From Certified Acts of Terrorism
CG   21   76   (01-15)   Exclusion of Punitive Damages Related to a Certified Act of Terrorism
CG   21   84   (01-15)   Exclusion Of Certified Nuclear, Biological, Chemical Or Radiological
                         Acts Of Terrorism; Cap On Losses From Certified Acts Of Terrorism
CG   21 96 (03-05)       Silica Or Silica-Related Dust Exclusion
GL   0001 (06-10)        Absolute Asbestos Exclusion
GL   0002 (06-10)        Absolute Lead Exclusion
GL   0008 (06-10)        Amendment of Employee Definition (Temporary Employee)
GL   0011 (06-10)        Comprehensive Personal Liability Coverage
GL   0019 (06-10)        Cross Liability Exclusion
GL   0025 (06-10)        Exclusion - Communicable Diseases
GL   0029 (06-10)        Exclusion - Designated Activites
GL   0030 (06-10)        Exclusion - Fireworks With Exception for Concussion Effects,
                         Flashpots and Smokepots
GL 0035 (06-10)          Exclusion - Personal And Advertising Injury Liability - Entertainment
                         Industry
GL   0041   (06-10)      Knowledge Of Occurrence
GL   0042   (06-10)      Limitation - No Stacking Of Occurrence Limits of Insurance
GL   0065   (10-10)      Comprehensive Personal Liability Coverage Declarations
GL   0452   (04-16)      CALIFORNIA EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR
                         PERSONAL INFORMATION AND DATA-RELATED LIABILITY - WITH LIMITED BODILY
                         INJURY EXCEPTION




                                               Original                          Exhibit B - 007
                                                                                     Page 1 of 1
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                                                                         IL 00 03 09 08

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART

The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




IL 00 03 09 08                            © ISO Properties, Inc., 2007   Exhibit
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                                                                                      1 of   1   
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POLICY NUMBER: GL201800012500
                                                                                                  IL 09 85 01 15

    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
    RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
   INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
  CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

         DISCLOSURE PURSUANT TO TERRORISM RISK
                     INSURANCE ACT
                                                    SCHEDULE

 SCHEDULE PART I
 Terrorism Premium (Certified Acts)
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s),
 Coverage Form(s) and/or Policy(ies):
 Certified Acts - General Liability




 Additional information, if any, concerning the terrorism premium:




 SCHEDULE PART II
 Federal share of terrorism losses               % Year: 20 18
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses               % Year: 20 19
 (Refer to Paragraph B. in this endorsement.)

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium
   In accordance with the federal Terrorism Risk
   Insurance Act, we are required to provide you with
   a notice disclosing the portion of your premium, if
   any, attributable to coverage for terrorist acts
   certified under the Terrorism Risk Insurance Act.
   The portion of your premium attributable to such
   coverage is shown in the Schedule of this
   endorsement or in the policy Declarations.




IL 09 85 01 15                       c   Insurance Services Office, Inc., 2015                    Exhibit
                                                                                                   PageB 1- 009
                                                                                                              of   2
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 B. Disclosure Of Federal Participation In Payment            C. Cap On Insurer Participation In Payment Of
    Of Terrorism Losses                                          Terrorism Losses
    The United States Government, Department of the              If aggregate insured losses attributable to terrorist
    Treasury, will pay a share of terrorism losses               acts certified under the Terrorism Risk Insurance
    insured under the federal program. The federal               Act exceed $100 billion in a calendar year and we
    share equals a percentage (as shown in Part II of            have met our insurer deductible under the
    the Schedule of this endorsement or in the policy            Terrorism Risk Insurance Act, we shall not be
    Declarations) of that portion of the amount of such          liable for the payment of any portion of the amount
    insured losses that exceeds the applicable insurer           of such losses that exceeds $100 billion, and in
    retention. However, if aggregate insured losses              such case insured losses up to that amount are
    attributable to terrorist acts certified under the           subject to pro rata allocation in accordance with
    Terrorism Risk Insurance Act exceed $100 billion             procedures established by the Secretary of the
    in a calendar year, the Treasury shall not make              Treasury.
    any payment for any portion of the amount of such
    losses that exceeds $100 billion.




Page 2 of 2                           c   Insurance Services Office, Inc., 2015                      Exhibit
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                                                                                                    IL 00 17 11 98


                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                     b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                     and
       tions may cancel this policy by mailing or de-               c. Recommend changes.
       livering to us advance written notice of cancel-         2. We are not obligated to make any inspections,
       lation.                                                      surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                such actions we do undertake relate only to in-
       ering to the first Named Insured written notice              surability and the premiums to be charged. We
       of cancellation at least:                                    do not make safety inspections. We do not un-
       a. 10 days before the effective date of cancel-              dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-               organization to provide for the health or safety
           mium; or                                                 of workers or the public. And we do not warrant
                                                                    that conditions:
       b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first               b. Comply with laws, regulations, codes or
       Named Insured's last mailing address known to                    standards.
       us.                                                      3. Paragraphs 1. and 2. of this condition apply
   4. Notice of cancellation will state the effective               not only to us, but also to any rating, advisory,
       date of cancellation. The policy period will end             rate service or similar organization which
       on that date.                                                makes insurance inspections, surveys, reports
                                                                    or recommendations.
   5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we              4. Paragraph 2. of this condition does not apply
       cancel, the refund will be pro rata. If the first            to any inspections, surveys, reports or recom-
       Named Insured cancels, the refund may be                     mendations we may make relative to certifica-
       less than pro rata. The cancellation will be ef-             tion, under state or municipal statutes, ordi-
       fective even if we have not made or offered a                nances or regulations, of boilers, pressure ves-
       refund.                                                      sels or elevators.
   6. If notice is mailed, proof of mailing will be suf-     E. Premiums
       ficient proof of notice.                                 The first Named Insured shown in the Declara-
B. Changes                                                      tions:
   This policy contains all the agreements between              1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                    and
   The first Named Insured shown in the Declara-                2. Will be the payee for any return premiums we
   tions is authorized to make changes in the terms                 pay.
   of this policy with our consent. This policy's terms      F. Transfer Of Your Rights And Duties Under
   can be amended or waived only by endorsement                 This Policy
   issued by us and made a part of this policy.
                                                                Your rights and duties under this policy may not
C. Examination Of Your Books And Records                        be transferred without our written consent except
   We may examine and audit your books and rec-                 in the case of death of an individual named in-
   ords as they relate to this policy at any time during        sured.
   the policy period and up to three years afterward.           If you die, your rights and duties will be trans-
D. Inspections And Surveys                                      ferred to your legal representative but only while
   1. We have the right to:                                     acting within the scope of duties as your legal rep-
                                                                resentative. Until your legal representative is ap-
       a. Make inspections and surveys at any time;             pointed, anyone having proper temporary custody
                                                                of your property will have your rights and duties
                                                                but only with respect to that property.




IL 00 17 11 98                   Copyright, Insurance Services Office, Inc., 1998                   Exhibit
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                                                                                                  IL 00 21 09 08

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                 (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                             C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"          or "property damage" resulting from "hazard-
      or "property damage":                                     ous properties" of "nuclear material", if:
     (1) With respect to which an "insured" under              (1) The "nuclear material" (a) is at any "nuclear
         the policy is also an insured under a nu-                 facility" owned by, or operated by or on be-
         clear energy liability policy issued by Nu-               half of, an "insured" or (b) has been dis-
         clear Energy Liability Insurance Associa-                 charged or dispersed therefrom;
         tion, Mutual Atomic Energy Liability                  (2) The "nuclear material" is contained in
         Underwriters, Nuclear Insurance Associa-                  "spent fuel" or "waste" at any time pos-
         tion of Canada or any of their successors,                sessed, handled, used, processed, stored,
         or would be an insured under any such pol-                transported or disposed of, by or on behalf
         icy but for its termination upon exhaustion               of an "insured"; or
         of its limit of liability; or                         (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                 arises out of the furnishing by an "insured"
         of "nuclear material" and with respect to                 of services, materials, parts or equipment in
         which (a) any person or organization is re-               connection with the planning, construction,
         quired to maintain financial protection pur-              maintenance, operation or use of any "nu-
         suant to the Atomic Energy Act of 1954, or                clear facility", but if such facility is located
         any law amendatory thereof, or (b) the "in-               within the United States of America, its terri-
         sured" is, or had this policy not been issued             tories or possessions or Canada, this ex-
         would be, entitled to indemnity from the                  clusion (3) applies only to "property dam-
         United States of America, or any agency                   age" to such "nuclear facility" and any
         thereof, under any agreement entered into                 property thereat.
         by the United States of America, or any          2. As used in this endorsement:
         agency thereof, with any person or organi-
         zation.                                             "Hazardous properties" includes radioactive, toxic
                                                             or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-          "Nuclear material" means "source material", "spe-
      jury" resulting from the "hazardous properties"        cial nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.




IL 00 21 09 08                            © ISO Properties, Inc., 2007                            Exhibit
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   "Source material", "special nuclear material", and             (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                      essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                    nuclear material" if at any time the total
   law amendatory thereof.                                            amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                   the "insured" at the premises where such
   ponent, solid or liquid, which has been used or ex-                equipment or device is located consists of
   posed to radiation in a "nuclear reactor".                         or contains more than 25 grams of pluto-
                                                                      nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                    thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                   235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed              (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)               or place prepared or used for the storage or
   resulting from the operation by any person or or-                  disposal of "waste";
   ganization of any "nuclear facility" included under         and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nu-          is located, all operations conducted on such site
   clear facility".                                            and all premises used for such operations.
   "Nuclear facility" means:                                   "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                               or used to sustain nuclear fission in a self-
                                                               supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used             mass of fissionable material.
           for (1) separating the isotopes of uranium or
           plutonium, (2) processing or utilizing "spent       "Property damage" includes all forms of radioac-
           fuel", or (3) handling, processing or packag-       tive contamination of property.
           ing "waste";




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                                                                                                    IL 02 70 09 12

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 CALIFORNIA CHANGES – CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraphs 2. and 3. of the Cancellation                    3. All Policies In Effect For More Than 60 Days
   Common Policy Condition are replaced by the                    a. If this policy has been in effect for more
   following:                                                         than 60 days, or is a renewal of a policy we
   2. All Policies In Effect For 60 Days Or Less                      issued, we may cancel this policy only upon
      If this policy has been in effect for 60 days or                the occurrence, after the effective date of
      less, and is not a renewal of a policy we have                  the policy, of one or more of the following:
      previously issued, we may cancel this policy by                (1) Nonpayment of premium, including
      mailing or delivering to the first Named Insured,                  payment due on a prior policy we issued
      at the mailing address shown in the policy, and                    and due during the current policy term
      to the producer of record, advance written                         covering the same risks.
      notice of cancellation, stating the reason for                 (2) Discovery      of   fraud    or     material
      cancellation, at least:                                            misrepresentation by:
      a. 10 days before the effective date of                           (a) Any insured or his or her
           cancellation if we cancel for:                                   representative in obtaining this
          (1) Nonpayment of premium; or                                     insurance; or
          (2) Discovery of fraud by:                                    (b) You or your representative in
              (a) Any insured or his or her                                 pursuing a claim under this policy.
                  representative in obtaining this                   (3) A judgment by a court or an
                  insurance; or                                          administrative tribunal that you have
             (b) You or your representative in                           violated a California or Federal law,
                  pursuing a claim under this policy.                    having as one of its necessary elements
                                                                         an act which materially increases any of
      b. 30 days before the effective date of                            the risks insured against.
           cancellation if we cancel for any other
           reason.




IL 02 70 09 12                        © Insurance Services Office, Inc., 2012                       Exhibit
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        (4) Discovery of willful or grossly negligent      B. The following provision is added to the
            acts or omissions, or of any violations of        Cancellation Common Policy Condition:
            state laws or regulations establishing            7. Residential Property
            safety standards, by you or your
            representative,      which      materially           This provision applies to coverage on real
            increase any of the risks insured                    property which is used predominantly for
            against.                                             residential purposes and consisting of not more
                                                                 than four dwelling units, and to coverage on
        (5) Failure by you or your representative to             tenants' household personal property in a
            implement reasonable loss control                    residential unit, if such coverage is written
            requirements, agreed to by you as a                  under one of the following:
            condition of policy issuance, or which
            were conditions precedent to our use of              Commercial Property Coverage Part
            a particular rate or rating plan, if that            Farm Coverage Part – Farm Property – Farm
            failure materially increases any of the              Dwellings,    Appurtenant     Structures    And
            risks insured against.                               Household Personal Property Coverage Form
        (6) A determination by the Commissioner of               a. If such coverage has been in effect for 60
            Insurance that the:                                     days or less, and is not a renewal of
           (a) Loss of, or changes in, our                          coverage we previously issued, we may
                reinsurance covering all or part of                 cancel this coverage for any reason, except
                                                                    as provided in b. and c. below.
                the risk would threaten our financial
                integrity or solvency; or                         b. We may not cancel this policy solely
           (b) Continuation of the policy coverage                   because the first Named Insured has:
                would:                                              (1) Accepted an offer of earthquake
                                                                         coverage; or
                (i) Place us in violation of California
                    law or the laws of the state where              (2) Cancelled or did not renew a policy
                    we are domiciled; or                                 issued by the California Earthquake
               (ii) Threaten our solvency.                               Authority (CEA) that included an
                                                                         earthquake policy premium surcharge.
        (7) A change by you or your representative
            in the activities or property of the                     However, we shall cancel this policy if the
                                                                     first Named Insured has accepted a new or
            commercial or industrial enterprise,
            which results in a materially added,                     renewal policy issued by the CEA that
            increased or changed risk, unless the                    includes an earthquake policy premium
                                                                     surcharge but fails to pay the earthquake
            added, increased or changed risk is
            included in the policy.                                  policy premium surcharge authorized by the
                                                                     CEA.
      b. We will mail or deliver advance written
         notice of cancellation, stating the reason for           c. We may not cancel such coverage solely
                                                                     because corrosive soil conditions exist on
         cancellation, to the first Named Insured, at
         the mailing address shown in the policy,                    the premises. This restriction (c.) applies
         and to the producer of record, at least:                    only if coverage is subject to one of the
                                                                     following, which exclude loss or damage
        (1) 10 days before the effective date of                     caused by or resulting from corrosive soil
            cancellation  if  we    cancel    for                    conditions:
            nonpayment of premium or discovery of
            fraud; or                                               (1) Commercial Property Coverage Part –
                                                                         Causes Of Loss – Special Form; or
        (2) 30 days before the effective date of
            cancellation if we cancel for any other                  (2) Farm Coverage Part – Causes Of Loss
            reason listed in Paragraph 3.a.                              Form – Farm Property, Paragraph D.
                                                                         Covered Causes Of Loss – Special.




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C. The following is added and supersedes any                        (2) The Commissioner of Insurance finds
   provisions to the contrary:                                            that the exposure to potential losses will
   Nonrenewal                                                             threaten our solvency or place us in a
                                                                          hazardous condition. A hazardous
   1. Subject to the provisions of Paragraphs C.2.                        condition includes, but is not limited to, a
      and C.3. below, if we elect not to renew this                       condition in which we make claims
      policy, we will mail or deliver written notice,                     payments for losses resulting from an
      stating the reason for nonrenewal, to the first                     earthquake that occurred within the
      Named Insured shown in the Declarations, and                        preceding two years and that required a
      to the producer of record, at least 60 days, but                    reduction in policyholder surplus of at
      not more than 120 days, before the expiration                       least 25% for payment of those claims;
      or anniversary date.                                                or
      We will mail or deliver our notice to the first               (3) We have:
      Named Insured, and to the producer of record,
      at the mailing address shown in the policy.                        (a) Lost or experienced a substantial
                                                                              reduction in the availability or scope
   2. Residential Property                                                    of reinsurance coverage; or
      This provision applies to coverage on real                         (b) Experienced a substantial increase
      property used predominantly for residential                             in the premium charged for
      purposes and consisting of not more than four                           reinsurance     coverage      of    our
      dwelling units, and to coverage on tenants'                             residential    property      insurance
      household property contained in a residential                           policies; and
      unit, if such coverage is written under one of
      the following:                                                      the Commissioner has approved a plan
                                                                          for the nonrenewals that is fair and
      Commercial Property Coverage Part
                                                                          equitable, and that is responsive to the
      Farm Coverage Part – Farm Property – Farm                           changes in our reinsurance position.
      Dwellings,     Appurtenant     Structures   And
      Household Personal Property Coverage Form                   c. We will not refuse to renew such coverage
                                                                     solely because the first Named Insured has
      a. We may elect not to renew such coverage                     cancelled or did not renew a policy, issued
          for any reason, except as provided in b., c.               by the California Earthquake Authority, that
          and d. below.                                              included an earthquake policy premium
      b. We will not refuse to renew such coverage                   surcharge.
         solely because the first Named Insured has               d. We will not refuse to renew such coverage
         accepted an offer of earthquake coverage.                   solely because corrosive soil conditions
         However, the following applies only to                      exist on the premises. This restriction (d.)
         insurers who are associate participating                    applies only if coverage is subject to one of
         insurers as established by Cal. Ins. Code                   the following, which exclude loss or
         Section 10089.16. We may elect not to                       damage caused by or resulting from
         renew such coverage after the first Named                   corrosive soil conditions:
         Insured has accepted an offer of                           (1) Commercial Property Coverage Part –
         earthquake coverage, if one or more of the                       Causes Of Loss – Special Form; or
         following reasons applies:
                                                                    (2) Farm Coverage Part – Causes Of Loss
         (1) The nonrenewal is based on sound                             Form – Farm Property, Paragraph D.
             underwriting principles that relate to the                   Covered Causes Of Loss – Special.
             coverages provided by this policy and
             that are consistent with the approved             3. We are not required to send notice of
             rating plan and related documents filed              nonrenewal in the following situations:
             with the Department of Insurance as                  a. If the transfer or renewal of a policy, without
             required by existing law;                               any changes in terms, conditions or rates,
                                                                     is between us and a member of our
                                                                     insurance group.




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      b. If the policy has been extended for 90 days             e. If the first Named Insured requests a
         or less, provided that notice has been given               change in the terms or conditions or risks
         in accordance with Paragraph C.1.                          covered by the policy within 60 days of the
      c. If you have obtained replacement coverage,                 end of the policy period.
         or if the first Named Insured has agreed, in             f. If we have made a written offer to the first
         writing, within 60 days of the termination of               Named Insured, in accordance with the
         the policy, to obtain that coverage.                        timeframes shown in Paragraph C.1., to
      d. If the policy is for a period of no more than               renew the policy under changed terms or
         60 days and you are notified at the time of                 conditions or at an increased premium rate,
         issuance that it will not be renewed.                       when the increase exceeds 25%.




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                                                                                                      DWELLING
                                                                                                   DL 24 33 05 04

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 WORKERS COMPENSATION RESIDENCE EMPLOYEES –
                CALIFORNIA
A. Agreement                                                        J. Subrogation.
   We agree, with respect to "residence employees":             2. Under Additional Policy Conditions:
   Under Coverage I                                                B. Waiver or Change of Policy Provisions.
   To pay when due all benefits required of an "in-                C. Assignment.
   sured" by the California Workers' Compensation                  E. Cancellation.
   Law; and
                                                                3. Our agreement to defend an "insured" as pro-
   Under Coverage II                                               vided under Coverage L – Personal Liability.
   To pay on behalf of an "insured" all damages for             4. Under Additional Coverages:
   which the "insured" is legally liable because of
   "bodily injury" sustained by a "residence employ-               A. Claim Expenses.
   ee". The "bodily injury" must be caused by acci-                B. First Aid Expenses.
   dent or disease and arise out of and in the course           5. The definitions of "bodily injury", "business",
   of employment by the "insured" while:                           "insured" and "residence employee".
   1. In the United States of America, its territories or    E. Additional Provisions Applicable To Coverage I
      possessions, or Canada, or
                                                                The following provisions are applicable to Cover-
   2. Temporarily elsewhere if the "residence em-               age I:
      ployee" is a citizen or resident of the United
      States or Canada.                                         1. We shall be directly and primarily liable to any
                                                                   "residence employee" of an "insured" entitled to
   Coverage II does not apply to any suit brought in or            the benefits of the California Workers' Com-
   judgment rendered by any court outside the United               pensation Law.
   States of America, its territories and possessions,
   or Canada, or to any action on such judgment.                2. As between the "residence employee" and us,
                                                                   notice to or knowledge of the occurrence of the
B. Who Is Covered                                                  injury on the part of an "insured" will be
   A "residence employee" is covered if during the 90              deemed notice or knowledge on our part.
   calendar days immediately before the date of injury          3. The jurisdiction of an "insured" will, for the
   the employee has:                                               purpose of the law imposing liability for com-
   1. Actually been engaged in such employment by                  pensation, be our jurisdiction.
      the "insured" for no less than 52 hours, and              4. We will be subject to the orders, findings, deci-
   2. Earned no less than one hundred dollars                      sions or awards rendered against an "insured",
      ($100) in wages.                                             under the provisions of the law imposing liability
C. Application Of Coverage                                         for compensation, subject to the provisions,
                                                                   conditions and limitations of this policy.
   This insurance applies only to "bodily injury" which
   occurs during the policy period. If the "bodily injury"          This policy shall govern as between an "in-
   is a disease, it must be caused or aggravated by                 sured" and us as to payments by either in dis-
   the conditions of the "residence employee's" em-                 charge of an "insured's" liability for compensa-
   ployment by the "insured".                                       tion.
D. Policy Provisions                                            5. The "residence employee" has a first lien upon
                                                                   any amount which we owe you on account of
   This insurance is subject to all the provisions of              this insurance. In case of your legal incapacity
   this endorsement and the following provisions of                or inability to receive the money and pay it to
   this policy:                                                    the "residence employee", we will pay it directly
   1. Under Conditions:                                            to the "residence employee". Your obligation to
      C. Duties After "Occurrence".                                the "residence employee" will be discharged to
                                                                   the extent of such payment.
      F. Suit Against Us.




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F. Limits Of Liability Coverage II                           I. Exclusions
   Our total limit of liability will not exceed $100,000       This policy does not apply:
   for all damages because of "bodily injury":                 1. To liability for additional compensation imposed
   1. Sustained by one or more "residence employ-                 on an "insured" under Sections 4553 and 4557,
      ees" in any one accident; or                                Division IV, Labor Code of the State of Califor-
   2. Caused by disease and sustained by a "resi-                 nia, because of the serious and willful miscon-
      dence employee".                                            duct of an "insured", or because of "bodily inju-
                                                                  ry" to an employee under 16 years of age and
   Our total limit of liability will not exceed $500,000          illegally employed at the time of injury;
   for all damages arising out of "bodily injury" by dis-
   ease regardless of the number of "residence em-             2. To liability for "bodily injury" arising out of or in
   ployees" who sustain "bodily injury" by disease.               connection with a "business" engaged in by an
                                                                  "insured".
G. Other Insurance
                                                               3. Under Coverage II:
   This insurance does not apply to any loss to which
   other valid and collectible Workers' Compensation               a. To liability assumed by the "insured" under
   or Employers' Liability Insurance applies                          any contract or agreement.
H. Conformity To Statute                                           b. To "bodily injury" by disease unless a writ-
                                                                      ten claim is made or suit brought against
   Terms of this insurance which are in conflict with                 the "insured" within 36 months after the end
   the California Workers' Compensation Law are                       of the policy period.
   amended to conform to that law.
                                                                   c. To any obligation under a workers' compen-
                                                                      sation, unemployment or disability benefits
                                                                      law or any similar law.
                                                            All other provisions of this policy apply.




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POLICY NUMBER: GL201800012500                                     COMMERCIAL GENERAL LIABILITY
                                                                                CG DS 01 10 01

    COMMERCIAL GENERAL LIABILITY DECLARATIONS
            COMPANY NAME                                      PRODUCER NAME                      00609
New York Marine and General Insurance             Integro USA, Inc.
Company                                           21650 Oxnard St., Suite 2350
59 Maiden Lane, 27th Floor                        Woodland Hills, CA 91367-7824
New York, NY 10038-4647



NAMED INSURED Under the Black Sky, Inc.
              As Per Named Insured Extension Schedule

MAILING ADDRESS c/o MACIAS, GINI & O'CONNELL
                2029 Century Park East, #1500
                Los Angeles, CA 90067
POLICY PERIOD: FROM    07/18/2018            TO     07/18/2019           AT 12:01 A.M. TIME AT
YOUR MAILING ADDRESS SHOWN ABOVE

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

                                  LIMITS OF INSURANCE
EACH OCCURRENCE LIMIT                             $1,000,000
      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                      $300,000 Any one premises
      MEDICAL EXPENSE LIMIT                      $5,000 Any one person
PERSONAL & ADVERTISING INJURY LIMIT          $1,000,000 Any one person or organization
GENERAL AGGREGATE LIMIT                                                 $1,000,000
PRODUCTS/COMPLETED OPERATIONS AGGREGATE LIMIT                           $1,000,000



                            RETROACTIVE DATE (CG 00 02 ONLY)
THIS INSURANCE DOES NOT APPLY TO "BODILY INJURY", "PROPERTY DAMAGE" OR "PERSONAL AND
ADVERTISING INJURY" WHICH OCCURS BEFORE THE RETROACTIVE DATE, IF ANY, SHOWN BELOW.
RETROACTIVE DATE:
                    (ENTER DATE OR "NONE" IF NO RETROACTIVE DATE APPLIES)


                                DESCRIPTION OF BUSINESS
FORM OF BUSINESS:

  INDIVIDUAL          PARTNERSHIP               JOINT VENTURE             TRUST

  LIMITED LIABILITY COMPANY   X ORGANIZATION, INCLUDING A CORPORATION (BUT NOT IN-
                              CLUDING A PARTNERSHIP, JOINT VENTURE OR LIMITED LIABILITY
                              COMPANY)

BUSINESS DESCRIPTION: Shell Corporation



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 POLICY NUMBER: GL201800012500                                  COMMERCIAL GENERAL LIABILITY
                                                                               CG DS 01 10 01


                             ALL PREMISES YOU OWN, RENT OR OCCUPY
LOCATION NUMBER                      ADDRESS OF ALL PREMISES YOU OWN, RENT OR OCCUPY
1




                                  CLASSIFICATION AND PREMIUM
LOCA        CLASSIFICATION         CODE       PREMIUM             RATE          ADVANCE PREMIUM
TION
NUMB                               NO.         BASE       Prem/      Prod/Com       Prem/        Prod/
 ER                                                        Ops           p           Ops         Comp
                                                                        Ops                       Ops
       Shell Corp ‐
       Includes office                    1              Flat       Included
 1
       liability at loc 1

-      Increased Premises                 $300,000
                                                         Flat       Included
       Rented To You Limit                Limit

                                    STATE TAX OR OTHER (if applicable)          $
                                    TOTAL PREMIUM (SUBJECT TO AUDIT)
                                                                                $

PREMIUM SHOWN IS PAYABLE:           AT INCEPTION                            $
                                    AT EACH ANNIVERSARY                     $
                                    (IF POLICY PERIOD IS MORE THAN ONE YEAR AND PREMIUM IS
                                    PAID IN ANNUAL INSTALLMENTS)

AUDIT PERIOD (IF APPLICABLE)  ANNUALLY               SEMI-    QUARTERLY MONTHLY
                                                        ANNUALLY

                                  ENDORSEMENTS
ENDORSEMENTS ATTACHED TO THIS POLICY:
   See Schedule of Forms and Endorsements.



THESE DECLARATIONS, TOGETHER WITH THE COMMON POLICY CONDITIONS AND COVERAGE
FORM(S) AND ANY ENDORSEMENT(S), COMPLETE THE ABOVE NUMBERED POLICY.

Countersigned:                                   By:

                    (Date)                                 (Authorized Representative)

NOTE
OFFICERS' FACSIMILE SIGNATURES MAY BE INSERTED HERE, ON THE POLICY COVER OR
ELSEWHERE AT THE COMPANY'S OPTION.
CG DS 01 10 01
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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 00 01 12 07

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.         b. This insurance applies to "bodily injury" and
Read the entire policy carefully to determine rights,           "property damage" only if:
duties and what is and is not covered.                         (1) The "bodily injury" or "property damage" is
Throughout this policy the words "you" and "your"                  caused by an "occurrence" that takes place
refer to the Named Insured shown in the Declarations,              in the "coverage territory";
and any other person or organization qualifying as a           (2) The "bodily injury" or "property damage"
Named Insured under this policy. The words "we",                   occurs during the policy period; and
"us" and "our" refer to the company providing this
insurance.                                                     (3) Prior to the policy period, no insured listed
                                                                   under Paragraph 1. of Section II – Who Is
The word "insured" means any person or organization                An Insured and no "employee" authorized
qualifying as such under Section II – Who Is An In-                by you to give or receive notice of an "oc-
sured.                                                             currence" or claim, knew that the "bodily in-
Other words and phrases that appear in quotation                   jury" or "property damage" had occurred, in
marks have special meaning. Refer to Section V –                   whole or in part. If such a listed insured or
Definitions.                                                       authorized "employee" knew, prior to the
SECTION I – COVERAGES                                              policy period, that the "bodily injury" or
                                                                   "property damage" occurred, then any con-
COVERAGE A BODILY INJURY AND PROPERTY                              tinuation, change or resumption of such
DAMAGE LIABILITY                                                   "bodily injury" or "property damage" during
1. Insuring Agreement                                              or after the policy period will be deemed to
                                                                   have been known prior to the policy period.
   a. We will pay those sums that the insured be-
      comes legally obligated to pay as damages              c. "Bodily injury" or "property damage" which
      because of "bodily injury" or "property damage"           occurs during the policy period and was not,
      to which this insurance applies. We will have             prior to the policy period, known to have oc-
      the right and duty to defend the insured against          curred by any insured listed under Paragraph
      any "suit" seeking those damages. However,                1. of Section II – Who Is An Insured or any
      we will have no duty to defend the insured                "employee" authorized by you to give or re-
      against any "suit" seeking damages for "bodily            ceive notice of an "occurrence" or claim, in-
      injury" or "property damage" to which this in-            cludes any continuation, change or resumption
      surance does not apply. We may, at our discre-            of that "bodily injury" or "property damage" af-
      tion, investigate any "occurrence" and settle             ter the end of the policy period.
      any claim or "suit" that may result. But:              d. "Bodily injury" or "property damage" will be
      (1) The amount we will pay for damages is                 deemed to have been known to have occurred
          limited as described in Section III – Limits          at the earliest time when any insured listed un-
          Of Insurance; and                                     der Paragraph 1. of Section II – Who Is An In-
      (2) Our right and duty to defend ends when we             sured or any "employee" authorized by you to
          have used up the applicable limit of insur-           give or receive notice of an "occurrence" or
                                                                claim:
          ance in the payment of judgments or set-
          tlements under Coverages A or B or medi-              (1) Reports all, or any part, of the "bodily injury"
          cal expenses under Coverage C.                            or "property damage" to us or any other in-
                                                                    surer;
      No other obligation or liability to pay sums or
      perform acts or services is covered unless ex-            (2) Receives a written or verbal demand or
      plicitly provided for under Supplementary Pay-                claim for damages because of the "bodily
      ments – Coverages A and B.                                    injury" or "property damage"; or
                                                                (3) Becomes aware by any other means that
                                                                    "bodily injury" or "property damage" has oc-
                                                                    curred or has begun to occur.




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   e. Damages because of "bodily injury" include               c. Liquor Liability
      damages claimed by any person or organiza-                  "Bodily injury" or "property damage" for which
      tion for care, loss of services or death resulting          any insured may be held liable by reason of:
      at any time from the "bodily injury".
                                                                 (1) Causing or contributing to the intoxication of
2. Exclusions                                                        any person;
   This insurance does not apply to:                             (2) The furnishing of alcoholic beverages to a
   a. Expected Or Intended Injury                                    person under the legal drinking age or un-
      "Bodily injury" or "property damage" expected                  der the influence of alcohol; or
      or intended from the standpoint of the insured.            (3) Any statute, ordinance or regulation relating
      This exclusion does not apply to "bodily injury"               to the sale, gift, distribution or use of alco-
      resulting from the use of reasonable force to                  holic beverages.
      protect persons or property.                                This exclusion applies only if you are in the
   b. Contractual Liability                                       business of manufacturing, distributing, selling,
      "Bodily injury" or "property damage" for which              serving or furnishing alcoholic beverages.
      the insured is obligated to pay damages by               d. Workers' Compensation And Similar Laws
      reason of the assumption of liability in a con-             Any obligation of the insured under a workers'
      tract or agreement. This exclusion does not                 compensation, disability benefits or unem-
      apply to liability for damages:                             ployment compensation law or any similar law.
     (1) That the insured would have in the absence            e. Employer's Liability
          of the contract or agreement; or
                                                                  "Bodily injury" to:
     (2) Assumed in a contract or agreement that is
         an "insured contract", provided the "bodily             (1) An "employee" of the insured arising out of
         injury" or "property damage" occurs subse-                   and in the course of:
         quent to the execution of the contract or                   (a) Employment by the insured; or
         agreement. Solely for the purposes of liabil-               (b) Performing duties related to the conduct
         ity assumed in an "insured contract", rea-                      of the insured's business; or
         sonable attorney fees and necessary litiga-
         tion expenses incurred by or for a party                 (2) The spouse, child, parent, brother or sister
         other than an insured are deemed to be                       of that "employee" as a consequence of
         damages because of "bodily injury" or                        Paragraph (1) above.
         "property damage", provided:                              This exclusion applies whether the insured
        (a) Liability to such party for, or for the cost           may be liable as an employer or in any other
             of, that party's defense has also been                capacity and to any obligation to share dam-
             assumed in the same "insured contract";               ages with or repay someone else who must
             and                                                   pay damages because of the injury.
        (b) Such attorney fees and litigation ex-                  This exclusion does not apply to liability as-
             penses are for defense of that party                  sumed by the insured under an "insured con-
             against a civil or alternative dispute                tract".
             resolution proceeding in which damages
             to which this insurance applies are al-
             leged.




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   f. Pollution                                                    (d) At or from any premises, site or location
     (1) "Bodily injury" or "property damage" arising                  on which any insured or any contractors
         out of the actual, alleged or threatened dis-                 or subcontractors working directly or in-
         charge, dispersal, seepage, migration, re-                    directly on any insured's behalf are per-
         lease or escape of "pollutants":                              forming operations if the "pollutants" are
                                                                       brought on or to the premises, site or lo-
        (a) At or from any premises, site or location                  cation in connection with such opera-
            which is or was at any time owned or                       tions by such insured, contractor or sub-
            occupied by, or rented or loaned to, any                   contractor. However, this subparagraph
            insured. However, this subparagraph                        does not apply to:
            does not apply to:
                                                                        (i) "Bodily injury" or "property damage"
            (i) "Bodily injury" if sustained within a                       arising out of the escape of fuels, lu-
                building and caused by smoke,                               bricants or other operating fluids
                fumes, vapor or soot produced by or                         which are needed to perform the
                originating from equipment that is                          normal electrical, hydraulic or me-
                used to heat, cool or dehumidify the                        chanical functions necessary for the
                building, or equipment that is used to                      operation of "mobile equipment" or
                heat water for personal use, by the                         its parts, if such fuels, lubricants or
                building's occupants or their guests;                       other operating fluids escape from a
           (ii) "Bodily injury" or "property damage"                        vehicle part designed to hold, store
                for which you may be held liable, if                        or receive them. This exception does
                you are a contractor and the owner                          not apply if the "bodily injury" or
                or lessee of such premises, site or                         "property damage" arises out of the
                location has been added to your pol-                        intentional discharge, dispersal or re-
                icy as an additional insured with re-                       lease of the fuels, lubricants or other
                spect to your ongoing operations                            operating fluids, or if such fuels, lu-
                performed for that additional insured                       bricants or other operating fluids are
                at that premises, site or location and                      brought on or to the premises, site or
                such premises, site or location is not                      location with the intent that they be
                and never was owned or occupied                             discharged, dispersed or released as
                by, or rented or loaned to, any in-                         part of the operations being per-
                sured, other than that additional in-                       formed by such insured, contractor
                sured; or                                                   or subcontractor;
           (iii) "Bodily injury" or "property damage"                  (ii) "Bodily injury" or "property damage"
                 arising out of heat, smoke or fumes                        sustained within a building and
                 from a "hostile fire";                                     caused by the release of gases,
        (b) At or from any premises, site or location                       fumes or vapors from materials
             which is or was at any time used by or                         brought into that building in connec-
                                                                            tion with operations being performed
             for any insured or others for the han-
             dling, storage, disposal, processing or                        by you or on your behalf by a con-
             treatment of waste;                                            tractor or subcontractor; or
                                                                      (iii) "Bodily injury" or "property damage"
        (c) Which are or were at any time trans-
                                                                            arising out of heat, smoke or fumes
            ported, handled, stored, treated, dis-
            posed of, or processed as waste by or                           from a "hostile fire".
            for:                                                   (e) At or from any premises, site or location
                                                                        on which any insured or any contractors
            (i) Any insured; or
                                                                        or subcontractors working directly or in-
           (ii) Any person or organization for whom                     directly on any insured's behalf are per-
                you may be legally responsible; or                      forming operations if the operations are
                                                                        to test for, monitor, clean up, remove,
                                                                        contain, treat, detoxify or neutralize, or
                                                                        in any way respond to, or assess the ef-
                                                                        fects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
         any:                                                          out of:
        (a) Request, demand, order or statutory or                    (a) The operation of machinery or equip-
            regulatory requirement that any insured                       ment that is attached to, or part of, a
            or others test for, monitor, clean up, re-                    land vehicle that would qualify under the
            move, contain, treat, detoxify or neutral-                    definition of "mobile equipment" if it were
            ize, or in any way respond to, or assess                      not subject to a compulsory or financial
            the effects of, "pollutants"; or                              responsibility law or other motor vehicle
         (b) Claim or "suit" by or on behalf of a gov-                    insurance law in the state where it is li-
             ernmental authority for damages be-                          censed or principally garaged; or
             cause of testing for, monitoring, cleaning               (b) the operation of any of the machinery or
             up, removing, containing, treating, de-                      equipment listed in Paragraph f.(2) or
             toxifying or neutralizing, or in any way                     f.(3) of the definition of "mobile equip-
             responding to, or assessing the effects                      ment".
             of, "pollutants".                                 h. Mobile Equipment
          However, this paragraph does not apply to               "Bodily injury" or "property damage" arising out
          liability for damages because of "property              of:
          damage" that the insured would have in the
          absence of such request, demand, order or               (1) The transportation of "mobile equipment" by
          statutory or regulatory requirement, or such                an "auto" owned or operated by or rented or
          claim or "suit" by or on behalf of a govern-                loaned to any insured; or
          mental authority.                                       (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                    in practice for, or while being prepared for,
                                                                      any prearranged racing, speed, demolition,
      "Bodily injury" or "property damage" arising out                or stunting activity.
      of the ownership, maintenance, use or en-
      trustment to others of any aircraft, "auto" or wa-        i. War
      tercraft owned or operated by or rented or                   "Bodily injury" or "property damage", however
      loaned to any insured. Use includes operation                caused, arising, directly or indirectly, out of:
      and "loading or unloading".
                                                                  (1) War, including undeclared or civil war;
      This exclusion applies even if the claims
                                                                  (2) Warlike action by a military force, including
      against any insured allege negligence or other
                                                                      action in hindering or defending against an
      wrongdoing in the supervision, hiring, employ-                  actual or expected attack, by any govern-
      ment, training or monitoring of others by that                  ment, sovereign or other authority using
      insured, if the "occurrence" which caused the
                                                                      military personnel or other agents; or
      "bodily injury" or "property damage" involved
      the ownership, maintenance, use or entrust-                 (3) Insurrection, rebellion, revolution, usurped
      ment to others of any aircraft, "auto" or water-                power, or action taken by governmental au-
      craft that is owned or operated by or rented or                 thority in hindering or defending against any
      loaned to any insured.                                          of these.
      This exclusion does not apply to:                         j. Damage To Property
     (1) A watercraft while ashore on premises you                 "Property damage" to:
          own or rent;                                            (1) Property you own, rent, or occupy, including
     (2) A watercraft you do not own that is:                         any costs or expenses incurred by you, or
                                                                      any other person, organization or entity, for
        (a) Less than 26 feet long; and                               repair, replacement, enhancement, restora-
        (b) Not being used to carry persons or                        tion or maintenance of such property for
             property for a charge;                                   any reason, including prevention of injury to
     (3) Parking an "auto" on, or on the ways next                    a person or damage to another's property;
         to, premises you own or rent, provided the               (2) Premises you sell, give away or abandon, if
         "auto" is not owned by or rented or loaned                   the "property damage" arises out of any
         to you or the insured;                                       part of those premises;
     (4) Liability assumed under any "insured con-                (3) Property loaned to you;
         tract" for the ownership, maintenance or
                                                                  (4) Personal property in the care, custody or
         use of aircraft or watercraft; or
                                                                      control of the insured;




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     (5) That particular part of real property on                  This exclusion does not apply to the loss of use
          which you or any contractors or subcontrac-              of other property arising out of sudden and ac-
          tors working directly or indirectly on your              cidental physical injury to "your product" or
          behalf are performing operations, if the                 "your work" after it has been put to its intended
          "property damage" arises out of those op-                use.
          erations; or                                          n. Recall Of Products, Work Or Impaired
     (6) That particular part of any property that                 Property
          must be restored, repaired or replaced be-               Damages claimed for any loss, cost or ex-
          cause "your work" was incorrectly per-                   pense incurred by you or others for the loss of
          formed on it.                                            use, withdrawal, recall, inspection, repair, re-
      Paragraphs (1), (3) and (4) of this exclusion do             placement, adjustment, removal or disposal of:
      not apply to "property damage" (other than                  (1) "Your product";
      damage by fire) to premises, including the con-
      tents of such premises, rented to you for a pe-             (2) "Your work"; or
      riod of 7 or fewer consecutive days. A separate             (3) "Impaired property";
      limit of insurance applies to Damage To Prem-                if such product, work, or property is withdrawn
      ises Rented To You as described in Section III               or recalled from the market or from use by any
      – Limits Of Insurance.
                                                                   person or organization because of a known or
      Paragraph (2) of this exclusion does not apply               suspected defect, deficiency, inadequacy or
      if the premises are "your work" and were never               dangerous condition in it.
      occupied, rented or held for rental by you.
                                                                o. Personal And Advertising Injury
      Paragraphs (3), (4), (5) and (6) of this exclu-
                                                                   "Bodily injury" arising out of "personal and ad-
      sion do not apply to liability assumed under a
                                                                   vertising injury".
      sidetrack agreement.
                                                                p. Electronic Data
      Paragraph (6) of this exclusion does not apply
      to "property damage" included in the "products-              Damages arising out of the loss of, loss of use
      completed operations hazard".                                of, damage to, corruption of, inability to access,
                                                                   or inability to manipulate electronic data.
   k. Damage To Your Product
                                                                   As used in this exclusion, electronic data
      "Property damage" to "your product" arising out              means information, facts or programs stored as
      of it or any part of it.                                     or on, created or used on, or transmitted to or
   l. Damage To Your Work                                          from computer software, including systems and
      "Property damage" to "your work" arising out of              applications software, hard or floppy disks, CD-
      it or any part of it and included in the "products-          ROMS, tapes, drives, cells, data processing
      completed operations hazard".                                devices or any other media which are used
                                                                   with electronically controlled equipment.
      This exclusion does not apply if the damaged
      work or the work out of which the damage                  q. Distribution Of Material In Violation Of
      arises was performed on your behalf by a sub-                Statutes
      contractor.                                                  "Bodily injury" or "property damage" arising di-
  m. Damage To Impaired Property Or Property                       rectly or indirectly out of any action or omission
     Not Physically Injured                                        that violates or is alleged to violate:
     "Property damage" to "impaired property" or                  (1) The Telephone Consumer Protection Act
     property that has not been physically injured,                   (TCPA), including any amendment of or
     arising out of:                                                  addition to such law; or
     (1) A defect, deficiency, inadequacy or danger-               (2) The CAN-SPAM Act of 2003, including any
         ous condition in "your product" or "your                      amendment of or addition to such law; or
         work"; or                                                 (3) Any statute, ordinance or regulation, other
     (2) A delay or failure by you or anyone acting                    than the TCPA or CAN-SPAM Act of 2003,
         on your behalf to perform a contract or                       that prohibits or limits the sending, transmit-
         agreement in accordance with its terms.                       ting, communicating or distribution of mate-
                                                                       rial or information.




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   Exclusions c. through n. do not apply to damage              c. Material Published Prior To Policy Period
   by fire to premises while rented to you or tempo-               "Personal and advertising injury" arising out of
   rarily occupied by you with permission of the                   oral or written publication of material whose
   owner. A separate limit of insurance applies to this            first publication took place before the beginning
   coverage as described in Section III – Limits Of                of the policy period.
   Insurance.
                                                                d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                   "Personal and advertising injury" arising out of
                                                                   a criminal act committed by or at the direction
1. Insuring Agreement                                              of the insured.
   a. We will pay those sums that the insured be-               e. Contractual Liability
       comes legally obligated to pay as damages
       because of "personal and advertising injury" to             "Personal and advertising injury" for which the
       which this insurance applies. We will have the              insured has assumed liability in a contract or
       right and duty to defend the insured against                agreement. This exclusion does not apply to li-
       any "suit" seeking those damages. However,                  ability for damages that the insured would have
       we will have no duty to defend the insured                  in the absence of the contract or agreement.
       against any "suit" seeking damages for "per-              f. Breach Of Contract
       sonal and advertising injury" to which this in-
                                                                    "Personal and advertising injury" arising out of
       surance does not apply. We may, at our discre-
                                                                    a breach of contract, except an implied con-
       tion, investigate any offense and settle any                 tract to use another's advertising idea in your
       claim or "suit" that may result. But:                        "advertisement".
      (1) The amount we will pay for damages is
                                                                g. Quality Or Performance Of Goods – Failure
           limited as described in Section III – Limits
                                                                    To Conform To Statements
           Of Insurance; and
                                                                    "Personal and advertising injury" arising out of
      (2) Our right and duty to defend end when we                  the failure of goods, products or services to
           have used up the applicable limit of insur-              conform with any statement of quality or per-
           ance in the payment of judgments or set-
                                                                    formance made in your "advertisement".
           tlements under Coverages A or B or medi-
           cal expenses under Coverage C.                       h. Wrong Description Of Prices
       No other obligation or liability to pay sums or              "Personal and advertising injury" arising out of
       perform acts or services is covered unless ex-               the wrong description of the price of goods,
       plicitly provided for under Supplementary Pay-               products or services stated in your "advertise-
       ments – Coverages A and B.                                   ment".
   b. This insurance applies to "personal and adver-             i. Infringement Of Copyright, Patent,
       tising injury" caused by an offense arising out              Trademark Or Trade Secret
       of your business but only if the offense was                 "Personal and advertising injury" arising out of
       committed in the "coverage territory" during the             the infringement of copyright, patent, trade-
       policy period.                                               mark, trade secret or other intellectual property
2. Exclusions                                                       rights. Under this exclusion, such other intellec-
                                                                    tual property rights do not include the use of
   This insurance does not apply to:                                another's advertising idea in your "advertise-
   a. Knowing Violation Of Rights Of Another                        ment".
      "Personal and advertising injury" caused by or                However, this exclusion does not apply to in-
      at the direction of the insured with the knowl-               fringement, in your "advertisement", of copy-
      edge that the act would violate the rights of an-             right, trade dress or slogan.
      other and would inflict "personal and advertis-
                                                                 j. Insureds In Media And Internet Type
      ing injury".                                                  Businesses
   b. Material Published With Knowledge Of                          "Personal and advertising injury" committed by
      Falsity                                                       an insured whose business is:
      "Personal and advertising injury" arising out of
                                                                   (1) Advertising, broadcasting, publishing or
      oral or written publication of material, if done by
                                                                       telecasting;
      or at the direction of the insured with knowl-
      edge of its falsity.                                         (2) Designing or determining content of web-
                                                                       sites for others; or




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     (3) An Internet search, access, content or                 (3) Insurrection, rebellion, revolution, usurped
          service provider.                                         power, or action taken by governmental au-
      However, this exclusion does not apply to                     thority in hindering or defending against any
      Paragraphs 14.a., b. and c. of "personal and                  of these.
      advertising injury" under the Definitions Sec-         p. Distribution Of Material In Violation Of
      tion.                                                     Statutes
      For the purposes of this exclusion, the placing           "Personal and advertising injury" arising di-
      of frames, borders or links, or advertising, for          rectly or indirectly out of any action or omission
      you or others anywhere on the Internet, is not            that violates or is alleged to violate:
      by itself, considered the business of advertis-           (1) The Telephone Consumer Protection Act
      ing, broadcasting, publishing or telecasting.                 (TCPA), including any amendment of or
   k. Electronic Chatrooms Or Bulletin Boards                       addition to such law; or
      "Personal and advertising injury" arising out of          (2) The CAN-SPAM Act of 2003, including any
      an electronic chatroom or bulletin board the in-              amendment of or addition to such law; or
      sured hosts, owns, or over which the insured              (3) Any statute, ordinance or regulation, other
      exercises control.                                            than the TCPA or CAN-SPAM Act of 2003,
   l. Unauthorized Use Of Another's Name Or                         that prohibits or limits the sending, transmit-
      Product                                                       ting, communicating or distribution of mate-
     "Personal and advertising injury" arising out of               rial or information.
     the unauthorized use of another's name or            COVERAGE C MEDICAL PAYMENTS
     product in your e-mail address, domain name          1. Insuring Agreement
     or metatag, or any other similar tactics to mis-
     lead another's potential customers.                     a. We will pay medical expenses as described
                                                                 below for "bodily injury" caused by an accident:
  m. Pollution
                                                                (1) On premises you own or rent;
     "Personal and advertising injury" arising out of
     the actual, alleged or threatened discharge,               (2) On ways next to premises you own or rent;
     dispersal, seepage, migration, release or es-                  or
     cape of "pollutants" at any time.                         (3) Because of your operations;
  n. Pollution-Related                                          provided that:
     Any loss, cost or expense arising out of any:                 (a) The accident takes place in the "cover-
    (1) Request, demand, order or statutory or                          age territory" and during the policy pe-
        regulatory requirement that any insured or                      riod;
        others test for, monitor, clean up, remove,                (b) The expenses are incurred and reported
        contain, treat, detoxify or neutralize, or in                   to us within one year of the date of the
        any way respond to, or assess the effects                       accident; and
        of, "pollutants"; or
                                                                   (c) The injured person submits to examina-
    (2) Claim or suit by or on behalf of a govern-                      tion, at our expense, by physicians of
        mental authority for damages because of                         our choice as often as we reasonably
        testing for, monitoring, cleaning up, remov-                    require.
        ing, containing, treating, detoxifying or neu-
                                                             b. We will make these payments regardless of
        tralizing, or in any way responding to, or              fault. These payments will not exceed the ap-
        assessing the effects of, "pollutants".                 plicable limit of insurance. We will pay reason-
  o. War                                                        able expenses for:
     "Personal and advertising injury", however                (1) First aid administered at the time of an
     caused, arising, directly or indirectly, out of:               accident;
     (1) War, including undeclared or civil war;               (2) Necessary medical, surgical, x-ray and
     (2) Warlike action by a military force, including              dental services, including prosthetic de-
         action in hindering or defending against an                vices; and
         actual or expected attack, by any govern-             (3) Necessary ambulance, hospital, profes-
         ment, sovereign or other authority using                   sional nursing and funeral services.
         military personnel or other agents; or




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2. Exclusions                                                  f. Prejudgment interest awarded against the
   We will not pay expenses for "bodily injury":                  insured on that part of the judgment we pay. If
                                                                  we make an offer to pay the applicable limit of
   a. Any Insured                                                 insurance, we will not pay any prejudgment in-
      To any insured, except "volunteer workers".                 terest based on that period of time after the of-
                                                                  fer.
   b. Hired Person
                                                               g. All interest on the full amount of any judgment
      To a person hired to do work for or on behalf of
                                                                  that accrues after entry of the judgment and
      any insured or a tenant of any insured.
                                                                  before we have paid, offered to pay, or depos-
   c. Injury On Normally Occupied Premises                        ited in court the part of the judgment that is
      To a person injured on that part of premises                within the applicable limit of insurance.
      you own or rent that the person normally occu-           These payments will not reduce the limits of insur-
      pies.                                                    ance.
   d. Workers Compensation And Similar Laws                 2. If we defend an insured against a "suit" and an
      To a person, whether or not an "employee" of             indemnitee of the insured is also named as a party
      any insured, if benefits for the "bodily injury"         to the "suit", we will defend that indemnitee if all of
      are payable or must be provided under a work-            the following conditions are met:
      ers' compensation or disability benefits law or a        a. The "suit" against the indemnitee seeks dam-
      similar law.                                                 ages for which the insured has assumed the li-
   e. Athletics Activities                                         ability of the indemnitee in a contract or agree-
                                                                   ment that is an "insured contract";
      To a person injured while practicing, instructing
      or participating in any physical exercises or            b. This insurance applies to such liability as-
      games, sports, or athletic contests.                         sumed by the insured;
    f. Products-Completed Operations Hazard                    c. The obligation to defend, or the cost of the
                                                                   defense of, that indemnitee, has also been as-
       Included within the "products-completed opera-              sumed by the insured in the same "insured
       tions hazard".                                              contract";
   g. Coverage A Exclusions                                    d. The allegations in the "suit" and the information
       Excluded under Coverage A.                                  we know about the "occurrence" are such that
SUPPLEMENTARY PAYMENTS – COVERAGES A                               no conflict appears to exist between the inter-
AND B                                                              ests of the insured and the interests of the in-
                                                                   demnitee;
1. We will pay, with respect to any claim we investi-
   gate or settle, or any "suit" against an insured we         e. The indemnitee and the insured ask us to
   defend:                                                        conduct and control the defense of that indem-
                                                                  nitee against such "suit" and agree that we can
   a. All expenses we incur.                                      assign the same counsel to defend the insured
   b. Up to $250 for cost of bail bonds required                  and the indemnitee; and
       because of accidents or traffic law violations          f. The indemnitee:
       arising out of the use of any vehicle to which
       the Bodily Injury Liability Coverage applies. We          (1) Agrees in writing to:
       do not have to furnish these bonds.                           (a) Cooperate with us in the investigation,
   c. The cost of bonds to release attachments, but                      settlement or defense of the "suit";
       only for bond amounts within the applicable                   (b) Immediately send us copies of any
       limit of insurance. We do not have to furnish                     demands, notices, summonses or legal
       these bonds.                                                      papers received in connection with the
   d. All reasonable expenses incurred by the in-                        "suit";
       sured at our request to assist us in the investi-             (c) Notify any other insurer whose coverage
       gation or defense of the claim or "suit", includ-                 is available to the indemnitee; and
       ing actual loss of earnings up to $250 a day
                                                                     (d) Cooperate with us with respect to coor-
       because of time off from work.
                                                                         dinating other applicable insurance
   e. All court costs taxed against the insured in the                   available to the indemnitee; and
      "suit". However, these payments do not include              (2) Provides us with written authorization to:
      attorneys' fees or attorneys' expenses taxed
      against the insured.                                           (a) Obtain records and other information
                                                                         related to the "suit"; and




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          (b) Conduct and control the defense of the       2. Each of the following is also an insured:
              indemnitee in such "suit".                      a. Your "volunteer workers" only while performing
   So long as the above conditions are met, attor-               duties related to the conduct of your business,
   neys' fees incurred by us in the defense of that in-          or your "employees", other than either your
   demnitee, necessary litigation expenses incurred              "executive officers" (if you are an organization
   by us and necessary litigation expenses incurred              other than a partnership, joint venture or limited
   by the indemnitee at our request will be paid as              liability company) or your managers (if you are
   Supplementary Payments. Notwithstanding the                   a limited liability company), but only for acts
   provisions of Paragraph 2.b.(2) of Section I – Cov-           within the scope of their employment by you or
   erage A – Bodily Injury And Property Damage Li-               while performing duties related to the conduct
   ability, such payments will not be deemed to be               of your business. However, none of these "em-
   damages for "bodily injury" and "property damage"             ployees" or "volunteer workers" are insureds
   and will not reduce the limits of insurance.                  for:
   Our obligation to defend an insured's indemnitee             (1) "Bodily injury" or "personal and advertising
   and to pay for attorneys' fees and necessary litiga-               injury":
   tion expenses as Supplementary Payments ends                     (a) To you, to your partners or members (if
   when we have used up the applicable limit of in-                     you are a partnership or joint venture),
   surance in the payment of judgments or settle-                       to your members (if you are a limited li-
   ments or the conditions set forth above, or the                      ability company), to a co-"employee"
   terms of the agreement described in Paragraph f.                     while in the course of his or her em-
   above, are no longer met.                                            ployment or performing duties related to
SECTION II – WHO IS AN INSURED                                          the conduct of your business, or to your
1. If you are designated in the Declarations as:                        other "volunteer workers" while perform-
                                                                        ing duties related to the conduct of your
   a. An individual, you and your spouse are insur-                     business;
       eds, but only with respect to the conduct of a
       business of which you are the sole owner.                    (b) To the spouse, child, parent, brother or
                                                                        sister of that co-"employee" or "volun-
   b. A partnership or joint venture, you are an in-                    teer worker" as a consequence of Para-
       sured. Your members, your partners, and their                    graph (1)(a) above;
       spouses are also insureds, but only with re-
       spect to the conduct of your business.                       (c) For which there is any obligation to
                                                                        share damages with or repay someone
   c. A limited liability company, you are an insured.                  else who must pay damages because of
       Your members are also insureds, but only with                    the injury described in Paragraphs (1)(a)
       respect to the conduct of your business. Your                    or (b) above; or
       managers are insureds, but only with respect
       to their duties as your managers.                            (d) Arising out of his or her providing or
                                                                        failing to provide professional health
   d. An organization other than a partnership, joint                   care services.
      venture or limited liability company, you are an
      insured. Your "executive officers" and directors           (2) "Property damage" to property:
      are insureds, but only with respect to their du-              (a) Owned, occupied or used by,
      ties as your officers or directors. Your stock-               (b) Rented to, in the care, custody or con-
      holders are also insureds, but only with respect                  trol of, or over which physical control is
      to their liability as stockholders.                               being exercised for any purpose by
   e. A trust, you are an insured. Your trustees are                 you, any of your "employees", "volunteer
      also insureds, but only with respect to their du-              workers", any partner or member (if you are
      ties as trustees.                                              a partnership or joint venture), or any mem-
                                                                     ber (if you are a limited liability company).




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   b. Any person (other than your "employee" or              3. The Products-Completed Operations Aggregate
      "volunteer worker"), or any organization while             Limit is the most we will pay under Coverage A for
      acting as your real estate manager.                        damages because of "bodily injury" and "property
   c. Any person or organization having proper                   damage" included in the "products-completed op-
      temporary custody of your property if you die,             erations hazard".
      but only:                                              4. Subject to Paragraph 2. above, the Personal and
     (1) With respect to liability arising out of the            Advertising Injury Limit is the most we will pay un-
          maintenance or use of that property; and               der Coverage B for the sum of all damages be-
                                                                 cause of all "personal and advertising injury" sus-
     (2) Until your legal representative has been                tained by any one person or organization.
          appointed.
                                                             5. Subject to Paragraph 2. or 3. above, whichever
   d. Your legal representative if you die, but only             applies, the Each Occurrence Limit is the most we
      with respect to duties as such. That represen-             will pay for the sum of:
      tative will have all your rights and duties under
      this Coverage Part.                                        a. Damages under Coverage A; and
3. Any organization you newly acquire or form, other             b. Medical expenses under Coverage C
    than a partnership, joint venture or limited liability       because of all "bodily injury" and "property dam-
    company, and over which you maintain ownership               age" arising out of any one "occurrence".
    or majority interest, will qualify as a Named In-        6. Subject to Paragraph 5. above, the Damage To
    sured if there is no other similar insurance avail-          Premises Rented To You Limit is the most we will
    able to that organization. However:                          pay under Coverage A for damages because of
    a. Coverage under this provision is afforded only            "property damage" to any one premises, while
       until the 90th day after you acquire or form the          rented to you, or in the case of damage by fire,
       organization or the end of the policy period,             while rented to you or temporarily occupied by you
       whichever is earlier;                                     with permission of the owner.
    b. Coverage A does not apply to "bodily injury" or       7. Subject to Paragraph 5. above, the Medical Ex-
       "property damage" that occurred before you                pense Limit is the most we will pay under Cover-
       acquired or formed the organization; and                  age C for all medical expenses because of "bodily
    c. Coverage B does not apply to "personal and                injury" sustained by any one person.
       advertising injury" arising out of an offense         The Limits of Insurance of this Coverage Part apply
       committed before you acquired or formed the           separately to each consecutive annual period and to
       organization.                                         any remaining period of less than 12 months, starting
No person or organization is an insured with respect         with the beginning of the policy period shown in the
to the conduct of any current or past partnership, joint     Declarations, unless the policy period is extended
venture or limited liability company that is not shown       after issuance for an additional period of less than 12
as a Named Insured in the Declarations.                      months. In that case, the additional period will be
                                                             deemed part of the last preceding period for purposes
SECTION III – LIMITS OF INSURANCE                            of determining the Limits of Insurance.
1. The Limits of Insurance shown in the Declarations         SECTION IV – COMMERCIAL GENERAL LIABILITY
    and the rules below fix the most we will pay re-         CONDITIONS
    gardless of the number of:
                                                             1. Bankruptcy
   a. Insureds;
                                                                 Bankruptcy or insolvency of the insured or of the
   b. Claims made or "suits" brought; or                         insured's estate will not relieve us of our obliga-
   c. Persons or organizations making claims or                  tions under this Coverage Part.
      bringing "suits".                                      2. Duties In The Event Of Occurrence, Offense,
2. The General Aggregate Limit is the most we will               Claim Or Suit
   pay for the sum of:                                           a. You must see to it that we are notified as soon
   a. Medical expenses under Coverage C;                             as practicable of an "occurrence" or an offense
   b. Damages under Coverage A, except damages                       which may result in a claim. To the extent pos-
      because of "bodily injury" or "property damage"                sible, notice should include:
      included in the "products-completed operations                (1) How, when and where the "occurrence" or
      hazard"; and                                                       offense took place;
   c. Damages under Coverage B.                                    (2) The names and addresses of any injured
                                                                       persons and witnesses; and




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     (3) The nature and location of any injury or         4. Other Insurance
          damage arising out of the "occurrence" or          If other valid and collectible insurance is available
          offense.                                           to the insured for a loss we cover under Cover-
   b. If a claim is made or "suit" is brought against        ages A or B of this Coverage Part, our obligations
      any insured, you must:                                 are limited as follows:
     (1) Immediately record the specifics of the             a. Primary Insurance
          claim or "suit" and the date received; and            This insurance is primary except when Para-
     (2) Notify us as soon as practicable.                      graph b. below applies. If this insurance is pri-
      You must see to it that we receive written no-            mary, our obligations are not affected unless
      tice of the claim or "suit" as soon as practica-          any of the other insurance is also primary.
      ble.                                                      Then, we will share with all that other insur-
                                                                ance by the method described in Paragraph c.
   c. You and any other involved insured must:                  below.
     (1) Immediately send us copies of any de-               b. Excess Insurance
         mands, notices, summonses or legal pa-
         pers received in connection with the claim            (1) This insurance is excess over:
         or "suit";                                               (a) Any of the other insurance, whether
     (2) Authorize us to obtain records and other                      primary, excess, contingent or on any
         information;                                                  other basis:
     (3) Cooperate with us in the investigation or                     (i) That is Fire, Extended Coverage,
         settlement of the claim or defense against                        Builder's Risk, Installation Risk or
         the "suit"; and                                                   similar coverage for "your work";
     (4) Assist us, upon our request, in the en-                      (ii) That is Fire insurance for premises
           forcement of any right against any person                       rented to you or temporarily occu-
           or organization which may be liable to the                      pied by you with permission of the
           insured because of injury or damage to                          owner;
           which this insurance may also apply.                      (iii) That is insurance purchased by you
   d. No insured will, except at that insured's own                        to cover your liability as a tenant for
      cost, voluntarily make a payment, assume any                         "property damage" to premises
      obligation, or incur any expense, other than for                     rented to you or temporarily occu-
      first aid, without our consent.                                      pied by you with permission of the
                                                                           owner; or
3. Legal Action Against Us
                                                                      (iv) If the loss arises out of the mainte-
   No person or organization has a right under this                         nance or use of aircraft, "autos" or
   Coverage Part:                                                           watercraft to the extent not subject to
   a. To join us as a party or otherwise bring us into                      Exclusion g. of Section I – Coverage
      a "suit" asking for damages from an insured; or                       A – Bodily Injury And Property Dam-
                                                                            age Liability.
   b. To sue us on this Coverage Part unless all of
       its terms have been fully complied with.                    (b) Any other primary insurance available to
                                                                        you covering liability for damages aris-
   A person or organization may sue us to recover on
   an agreed settlement or on a final judgment                          ing out of the premises or operations, or
   against an insured; but we will not be liable for                    the products and completed operations,
                                                                        for which you have been added as an
   damages that are not payable under the terms of
   this Coverage Part or that are in excess of the ap-                  additional insured by attachment of an
   plicable limit of insurance. An agreed settlement                    endorsement.
   means a settlement and release of liability signed           (2) When this insurance is excess, we will have
   by us, the insured and the claimant or the claim-                no duty under Coverages A or B to defend
   ant's legal representative.                                      the insured against any "suit" if any other
                                                                    insurer has a duty to defend the insured
                                                                    against that "suit". If no other insurer de-
                                                                    fends, we will undertake to do so, but we
                                                                    will be entitled to the insured's rights
                                                                    against all those other insurers.




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      (3) When this insurance is excess over other              c. We have issued this policy in reliance upon
          insurance, we will pay only our share of the             your representations.
          amount of the loss, if any, that exceeds the       7. Separation Of Insureds
          sum of:
                                                                Except with respect to the Limits of Insurance, and
         (a) The total amount that all such other               any rights or duties specifically assigned in this
              insurance would pay for the loss in the           Coverage Part to the first Named Insured, this in-
              absence of this insurance; and                    surance applies:
         (b) The total of all deductible and self-              a. As if each Named Insured were the only
              insured amounts under all that other in-             Named Insured; and
              surance.
                                                                b. Separately to each insured against whom claim
      (4) We will share the remaining loss, if any,                is made or "suit" is brought.
          with any other insurance that is not de-
          scribed in this Excess Insurance provision         8. Transfer Of Rights Of Recovery Against Others
          and was not bought specifically to apply in           To Us
          excess of the Limits of Insurance shown in            If the insured has rights to recover all or part of
          the Declarations of this Coverage Part.               any payment we have made under this Coverage
   c. Method Of Sharing                                         Part, those rights are transferred to us. The in-
                                                                sured must do nothing after loss to impair them. At
      If all of the other insurance permits contribution        our request, the insured will bring "suit" or transfer
      by equal shares, we will follow this method               those rights to us and help us enforce them.
      also. Under this approach each insurer con-
      tributes equal amounts until it has paid its ap-       9. When We Do Not Renew
      plicable limit of insurance or none of the loss           If we decide not to renew this Coverage Part, we
      remains, whichever comes first.                           will mail or deliver to the first Named Insured
      If any of the other insurance does not permit             shown in the Declarations written notice of the
      contribution by equal shares, we will contribute          nonrenewal not less than 30 days before the expi-
      by limits. Under this method, each insurer's              ration date.
      share is based on the ratio of its applicable             If notice is mailed, proof of mailing will be sufficient
      limit of insurance to the total applicable limits of      proof of notice.
      insurance of all insurers.                             SECTION V – DEFINITIONS
5. Premium Audit                                             1. "Advertisement" means a notice that is broadcast
   a. We will compute all premiums for this Cover-              or published to the general public or specific mar-
      age Part in accordance with our rules and                 ket segments about your goods, products or ser-
      rates.                                                    vices for the purpose of attracting customers or
   b. Premium shown in this Coverage Part as ad-                supporters. For the purposes of this definition:
      vance premium is a deposit premium only. At               a. Notices that are published include material
      the close of each audit period we will compute               placed on the Internet or on similar electronic
      the earned premium for that period and send                  means of communication; and
      notice to the first Named Insured. The due date           b. Regarding web-sites, only that part of a web-
      for audit and retrospective premiums is the                  site that is about your goods, products or ser-
      date shown as the due date on the bill. If the
                                                                   vices for the purposes of attracting customers
      sum of the advance and audit premiums paid                   or supporters is considered an advertisement.
      for the policy period is greater than the earned
      premium, we will return the excess to the first        2. "Auto" means:
      Named Insured.                                            a. A land motor vehicle, trailer or semitrailer de-
   c. The first Named Insured must keep records of                 signed for travel on public roads, including any
      the information we need for premium computa-                 attached machinery or equipment; or
      tion, and send us copies at such times as we              b. Any other land vehicle that is subject to a com-
      may request.                                                 pulsory or financial responsibility law or other
6. Representations                                                 motor vehicle insurance law in the state where
                                                                   it is licensed or principally garaged.
   By accepting this policy, you agree:
                                                                However, "auto" does not include "mobile equip-
   a. The statements in the Declarations are accu-              ment".
      rate and complete;
   b. Those statements are based upon representa-
      tions you made to us; and



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3. "Bodily injury" means bodily injury, sickness or         9. "Insured contract" means:
   disease sustained by a person, including death re-          a. A contract for a lease of premises. However,
   sulting from any of these at any time.                          that portion of the contract for a lease of prem-
4. "Coverage territory" means:                                     ises that indemnifies any person or organiza-
   a. The United States of America (including its                  tion for damage by fire to premises while
       territories and possessions), Puerto Rico and               rented to you or temporarily occupied by you
       Canada;                                                     with permission of the owner is not an "insured
                                                                   contract";
   b. International waters or airspace, but only if the
       injury or damage occurs in the course of travel         b. A sidetrack agreement;
       or transportation between any places included           c. Any easement or license agreement, except in
       in Paragraph a. above; or                                  connection with construction or demolition op-
   c. All other parts of the world if the injury or dam-          erations on or within 50 feet of a railroad;
       age arises out of:                                      d. An obligation, as required by ordinance, to
      (1) Goods or products made or sold by you in                indemnify a municipality, except in connection
           the territory described in Paragraph a.                with work for a municipality;
           above;                                              e. An elevator maintenance agreement;
      (2) The activities of a person whose home is in          f. That part of any other contract or agreement
           the territory described in Paragraph a.                pertaining to your business (including an in-
           above, but is away for a short time on your            demnification of a municipality in connection
           business; or                                           with work performed for a municipality) under
      (3) "Personal and advertising injury" offenses              which you assume the tort liability of another
           that take place through the Internet or simi-          party to pay for "bodily injury" or "property dam-
           lar electronic means of communication                  age" to a third person or organization. Tort li-
                                                                  ability means a liability that would be imposed
   provided the insured's responsibility to pay dam-              by law in the absence of any contract or
   ages is determined in a "suit" on the merits, in the           agreement.
   territory described in Paragraph a. above or in a
   settlement we agree to.                                        Paragraph f. does not include that part of any
                                                                  contract or agreement:
5. "Employee" includes a "leased worker". "Em-
   ployee" does not include a "temporary worker".                (1) That indemnifies a railroad for "bodily injury"
                                                                      or "property damage" arising out of con-
6. "Executive officer" means a person holding any of                  struction or demolition operations, within 50
   the officer positions created by your charter, con-                feet of any railroad property and affecting
   stitution, by-laws or any other similar governing                  any railroad bridge or trestle, tracks, road-
   document.                                                          beds, tunnel, underpass or crossing;
7. "Hostile fire" means one which becomes uncon-                 (2) That indemnifies an architect, engineer or
   trollable or breaks out from where it was intended                 surveyor for injury or damage arising out of:
   to be.
                                                                     (a) Preparing, approving, or failing to pre-
8. "Impaired property" means tangible property, other                     pare or approve, maps, shop drawings,
   than "your product" or "your work", that cannot be                     opinions, reports, surveys, field orders,
   used or is less useful because:                                        change orders or drawings and specifi-
   a. It incorporates "your product" or "your work"                       cations; or
       that is known or thought to be defective, defi-               (b) Giving directions or instructions, or
       cient, inadequate or dangerous; or                                 failing to give them, if that is the primary
   b. You have failed to fulfill the terms of a contract                  cause of the injury or damage; or
       or agreement;                                              (3) Under which the insured, if an architect,
   if such property can be restored to use by the re-                 engineer or surveyor, assumes liability for
   pair, replacement, adjustment or removal of "your                  an injury or damage arising out of the in-
   product" or "your work" or your fulfilling the terms               sured's rendering or failure to render pro-
   of the contract or agreement.                                      fessional services, including those listed in
                                                                      (2) above and supervisory, inspection, ar-
                                                                      chitectural or engineering activities.




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10. "Leased worker" means a person leased to you by                   However, self-propelled vehicles with the fol-
    a labor leasing firm under an agreement between                   lowing types of permanently attached equip-
    you and the labor leasing firm, to perform duties                 ment are not "mobile equipment" but will be
    related to the conduct of your business. "Leased                  considered "autos":
    worker" does not include a "temporary worker".                   (1) Equipment designed primarily for:
11. "Loading or unloading" means the handling of                        (a) Snow removal;
    property:
                                                                        (b) Road maintenance, but not construction
    a. After it is moved from the place where it is                          or resurfacing; or
        accepted for movement into or onto an aircraft,
        watercraft or "auto";                                           (c) Street cleaning;
    b. While it is in or on an aircraft, watercraft or               (2) Cherry pickers and similar devices mounted
        "auto"; or                                                       on automobile or truck chassis and used to
                                                                         raise or lower workers; and
    c. While it is being moved from an aircraft, water-
        craft or "auto" to the place where it is finally de-         (3) Air compressors, pumps and generators,
        livered;                                                         including spraying, welding, building clean-
                                                                         ing, geophysical exploration, lighting and
    but "loading or unloading" does not include the                      well servicing equipment.
    movement of property by means of a mechanical
    device, other than a hand truck, that is not at-               However, "mobile equipment" does not include
    tached to the aircraft, watercraft or "auto".                  any land vehicles that are subject to a compulsory
                                                                   or financial responsibility law or other motor vehi-
12. "Mobile equipment" means any of the following                  cle insurance law in the state where it is licensed
    types of land vehicles, including any attached ma-             or principally garaged. Land vehicles subject to a
    chinery or equipment:                                          compulsory or financial responsibility law or other
   a. Bulldozers, farm machinery, forklifts and other              motor vehicle insurance law are considered
      vehicles designed for use principally off public             "autos".
      roads;                                                   13. "Occurrence" means an accident, including con-
   b. Vehicles maintained for use solely on or next to             tinuous or repeated exposure to substantially the
      premises you own or rent;                                    same general harmful conditions.
   c. Vehicles that travel on crawler treads;                  14. "Personal and advertising injury" means injury,
   d. Vehicles, whether self-propelled or not, main-               including consequential "bodily injury", arising out
      tained primarily to provide mobility to perma-               of one or more of the following offenses:
      nently mounted:                                              a. False arrest, detention or imprisonment;
     (1) Power cranes, shovels, loaders, diggers or                b. Malicious prosecution;
          drills; or                                               c. The wrongful eviction from, wrongful entry into,
     (2) Road construction or resurfacing equipment                    or invasion of the right of private occupancy of
         such as graders, scrapers or rollers;                         a room, dwelling or premises that a person oc-
   e. Vehicles not described in Paragraph a., b., c.                   cupies, committed by or on behalf of its owner,
      or d. above that are not self-propelled and are                  landlord or lessor;
      maintained primarily to provide mobility to per-            d. Oral or written publication, in any manner, of
      manently attached equipment of the following                   material that slanders or libels a person or or-
      types:                                                         ganization or disparages a person's or organi-
     (1) Air compressors, pumps and generators,                      zation's goods, products or services;
         including spraying, welding, building clean-             e. Oral or written publication, in any manner, of
         ing, geophysical exploration, lighting and                  material that violates a person's right of pri-
         well servicing equipment; or                                vacy;
     (2) Cherry pickers and similar devices used to               f. The use of another's advertising idea in your
         raise or lower workers;                                     "advertisement"; or
    f. Vehicles not described in Paragraph a., b., c.             g. Infringing upon another's copyright, trade dress
       or d. above maintained primarily for purposes                 or slogan in your "advertisement".
       other than the transportation of persons or
       cargo.




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15. "Pollutants" mean any solid, liquid, gaseous or             b. Loss of use of tangible property that is not
    thermal irritant or contaminant, including smoke,              physically injured. All such loss of use shall be
    vapor, soot, fumes, acids, alkalis, chemicals and              deemed to occur at the time of the "occur-
    waste. Waste includes materials to be recycled,                rence" that caused it.
    reconditioned or reclaimed.                                  For the purposes of this insurance, electronic data
16. "Products-completed operations hazard":                      is not tangible property.
    a. Includes all "bodily injury" and "property dam-           As used in this definition, electronic data means
        age" occurring away from premises you own or             information, facts or programs stored as or on,
        rent and arising out of "your product" or "your          created or used on, or transmitted to or from com-
        work" except:                                            puter software, including systems and applications
       (1) Products that are still in your physical pos-         software, hard or floppy disks, CD-ROMS, tapes,
            session; or                                          drives, cells, data processing devices or any other
                                                                 media which are used with electronically controlled
       (2) Work that has not yet been completed or               equipment.
            abandoned. However, "your work" will be
            deemed completed at the earliest of the fol-     18. "Suit" means a civil proceeding in which damages
            lowing times:                                        because of "bodily injury", "property damage" or
                                                                 "personal and advertising injury" to which this in-
           (a) When all of the work called for in your           surance applies are alleged. "Suit" includes:
               contract has been completed.
                                                                 a. An arbitration proceeding in which such dam-
         (b) When all of the work to be done at the                  ages are claimed and to which the insured
             job site has been completed if your con-                must submit or does submit with our consent;
             tract calls for work at more than one job               or
             site.
                                                                 b. Any other alternative dispute resolution pro-
        (c) When that part of the work done at a job                 ceeding in which such damages are claimed
             site has been put to its intended use by                and to which the insured submits with our con-
             any person or organization other than                   sent.
             another contractor or subcontractor
             working on the same project.                    19. "Temporary worker" means a person who is fur-
                                                                 nished to you to substitute for a permanent "em-
         Work that may need service, maintenance,                ployee" on leave or to meet seasonal or short-term
         correction, repair or replacement, but which            workload conditions.
         is otherwise complete, will be treated as
         completed.                                          20. "Volunteer worker" means a person who is not
                                                                 your "employee", and who donates his or her work
   b. Does not include "bodily injury" or "property              and acts at the direction of and within the scope of
      damage" arising out of:                                    duties determined by you, and is not paid a fee,
     (1) The transportation of property, unless the              salary or other compensation by you or anyone
         injury or damage arises out of a condition in           else for their work performed for you.
         or on a vehicle not owned or operated by            21. "Your product":
         you, and that condition was created by the
         "loading or unloading" of that vehicle by any           a. Means:
         insured;                                                   (1) Any goods or products, other than real
     (2) The existence of tools, uninstalled equip-                      property, manufactured, sold, handled, dis-
         ment or abandoned or unused materials; or                       tributed or disposed of by:
     (3) Products or operations for which the classi-                 (a) You;
         fication, listed in the Declarations or in a                 (b) Others trading under your name; or
         policy schedule, states that products-                       (c) A person or organization whose busi-
         completed operations are subject to the                           ness or assets you have acquired; and
         General Aggregate Limit.
                                                                   (2) Containers (other than vehicles), materials,
17. "Property damage" means:                                           parts or equipment furnished in connection
    a. Physical injury to tangible property, including                 with such goods or products.
       all resulting loss of use of that property. All          b. Includes:
       such loss of use shall be deemed to occur at
       the time of the physical injury that caused it; or         (1) Warranties or representations made at any
                                                                       time with respect to the fitness, quality, du-
                                                                       rability, performance or use of "your prod-
                                                                       uct"; and




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     (2) The providing of or failure to provide warn-
         ings or instructions.
   c. Does not include vending machines or other
      property rented to or located for the use of oth-
      ers but not sold.
22. "Your work":
    a. Means:
      (1) Work or operations performed by you or on
           your behalf; and
      (2) Materials, parts or equipment furnished in
           connection with such work or operations.
    b. Includes:
      (1) Warranties or representations made at any
           time with respect to the fitness, quality, du-
           rability, performance or use of "your work",
           and
      (2) The providing of or failure to provide warn-
           ings or instructions.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 00 68 05 09

      RECORDING AND DISTRIBUTION OF MATERIAL OR
      INFORMATION IN VIOLATION OF LAW EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Exclusion q. of Paragraph 2. Exclusions of Sec-          B. Exclusion p. of Paragraph 2. Exclusions of Sec-
   tion I – Coverage A – Bodily Injury And Prop-               tion I – Coverage B – Personal And Advertising
   erty Damage Liability is replaced by the follow-            Injury Liability is replaced by the following:
   ing:                                                        2. Exclusions
   2. Exclusions                                                   This insurance does not apply to:
       This insurance does not apply to:                           p. Recording And Distribution Of Material
       q. Recording And Distribution Of Material                       Or Information In Violation Of Law
          Or Information In Violation Of Law                           "Personal and advertising injury" arising di-
         "Bodily injury" or "property damage" arising                  rectly or indirectly out of any action or omis-
         directly or indirectly out of any action or                   sion that violates or is alleged to violate:
         omission that violates or is alleged to vio-                 (1) The Telephone Consumer Protection
         late:                                                            Act (TCPA), including any amendment
         (1) The Telephone Consumer Protection                            of or addition to such law;
             Act (TCPA), including any amendment                      (2) The CAN-SPAM Act of 2003, including
             of or addition to such law;                                  any amendment of or addition to such
         (2) The CAN-SPAM Act of 2003, including                          law;
             any amendment of or addition to such                     (3) The Fair Credit Reporting Act (FCRA),
             law;                                                         and any amendment of or addition to
         (3) The Fair Credit Reporting Act (FCRA),                        such law, including the Fair and Accu-
             and any amendment of or addition to                          rate Credit Transaction Act (FACTA); or
             such law, including the Fair and Accu-                   (4) Any federal, state or local statute, ordi-
             rate Credit Transaction Act (FACTA); or                      nance or regulation, other than the
         (4) Any federal, state or local statute, ordi-                   TCPA, CAN-SPAM Act of 2003 or
             nance or regulation, other than the                          FCRA and their amendments and addi-
             TCPA, CAN-SPAM Act of 2003 or                                tions, that addresses, prohibits, or limits
             FCRA and their amendments and addi-                          the printing, dissemination, disposal,
             tions, that addresses, prohibits, or limits                  collecting, recording, sending, transmit-
             the printing, dissemination, disposal,                       ting, communicating or distribution of
             collecting, recording, sending, transmit-                    material or information.
             ting, communicating or distribution of
             material or information.




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POLICY NUMBER: GL201800012500                                           COMMERCIAL GENERAL LIABILITY
                                                                                       CG 20 11 01 96

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   ADDITIONAL INSURED - MANAGERS OR LESSORS OF
                     PREMISES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

1. Designation of Premises (Part Leased to You):   Per Locations on Declarations page
2. Name of Person or Organization (Additional Insured): As per written contract
3. Additional Premium: None

(If no entry appears above, the information required to complete this endorsement will be shown in the Declara-
tions as applicable to this endorsement.)

WHO IS AN INSURED (Section II) is amended to include as an insured the person or organization shown in the
Schedule but only with respect to liability arising out of the ownership, maintenance or use of that part of the
premises leased to you and shown in the Schedule and subject to the following additional exclusions:
This insurance does not apply to:
1. Any "occurrence" which takes place after you cease to be a tenant in that premises.
2. Structural alterations, new construction or demolition operations performed by or on behalf of the person or
   organization shown in the Schedule.




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                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                      CG 20 23 10 93

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           ADDITIONAL INSURED – EXECUTORS,
      ADMINISTRATORS, TRUSTEES OR BENEFICIARIES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

WHO IS AN INSURED (Section II) is amended to include as an insured any executor, administrator, trustee or
beneficiary of your estate or living trust while acting within the scope of their duties as such.




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 20 34 07 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             ADDITIONAL INSURED – LESSOR OF LEASED
              EQUIPMENT – AUTOMATIC STATUS WHEN
             REQUIRED IN LEASE AGREEMENT WITH YOU
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Who Is An Insured (Section II) is amended to                  A person’s or organization’s status as an additional
   include as an additional insured any person or or-            insured under this endorsement ends when their
   ganization from whom you lease equipment when                 contract or agreement with you for such leased
   you and such person or organization have agreed               equipment ends.
   in writing in a contract or agreement that such per-       B. With respect to the insurance afforded to these
   son or organization be added as an additional in-             additional insureds, this insurance does not apply
   sured on your policy. Such person or organization             to any "occurrence" which takes place after the
   is an insured only with respect to liability for "bodily      equipment lease expires.
   injury", "property damage" or "personal and adver-
   tising injury" caused, in whole or in part, by your
   maintenance, operation or use of equipment
   leased to you by such person or organization.




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                                                                       COMMERCIAL GENERAL LIABILITY
                                                                                      CG 21 46 07 98

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 ABUSE OR MOLESTATION EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following exclusion is added to Paragraph 2.,         2. The negligent:
Exclusions of Section I – Coverage A – Bodily                a. Employment;
Injury And Property Damage Liability and Para-
graph 2., Exclusions of Section I – Coverage B –             b. Investigation;
Personal And Advertising Injury Liability:                   c. Supervision;
This insurance does not apply to "bodily injury",            d. Reporting to the proper authorities, or failure
"property damage" or "personal and advertising                   to so report; or
injury" arising out of:                                      e. Retention;
1. The actual or threatened abuse or molestation by          of a person for whom any insured is or ever was
    anyone of any person while in the care, custody          legally responsible and whose conduct would be
    or control of any insured, or                            excluded by Paragraph 1. above.




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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 21 47 12 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,     B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily            Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                    sonal And Advertising Injury Liability:
   This insurance does not apply to:                        This insurance does not apply to:
   "Bodily injury" to:                                      "Personal and advertising injury" to:
  (1) A person arising out of any:                         (1) A person arising out of any:
      (a) Refusal to employ that person;                      (a) Refusal to employ that person;
      (b) Termination of that person's employment;            (b) Termination of that person's employment;
          or                                                       or
     (c) Employment-related practices, policies,               (c) Employment-related practices, policies,
          acts or omissions, such as coercion, demo-                acts or omissions, such as coercion, demo-
          tion, evaluation, reassignment, discipline,               tion, evaluation, reassignment, discipline,
          defamation, harassment, humiliation, dis-                 defamation, harassment, humiliation, dis-
          crimination or malicious prosecution di-                  crimination or malicious prosecution di-
          rected at that person; or                                 rected at that person; or
  (2) The spouse, child, parent, brother or sister of       (2) The spouse, child, parent, brother or sister of
      that person as a consequence of "bodily injury"           that person as a consequence of "personal and
      to that person at whom any of the employment-             advertising injury" to that person at whom any
      related practices described in Paragraphs (a),            of the employment-related practices described
      (b), or (c) above is directed.                            in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                   This exclusion applies:
  (1) Whether the injury-causing event described in         (1) Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before            Paragraphs (a), (b) or (c) above occurs before
      employment, during employment or after em-                employment, during employment or after em-
      ployment of that person;                                  ployment of that person;
  (2) Whether the insured may be liable as an em-           (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                      ployer or in any other capacity; and
  (3) To any obligation to share damages with or            (3) To any obligation to share damages with or
      repay someone else who must pay damages                   repay someone else who must pay damages
      because of the injury.                                    because of the injury.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 67 12 04

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.        B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I – Coverage A – Bodily              Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
   2. Exclusions                                              2. Exclusions
      This insurance does not apply to:                           This insurance does not apply to:
      Fungi Or Bacteria                                           Fungi Or Bacteria
      a. "Bodily injury" or "property damage" which               a. "Personal and advertising injury" which
         would not have occurred, in whole or in part,               would not have taken place, in whole or in
         but for the actual, alleged or threatened in-               part, but for the actual, alleged or threat-
         halation of, ingestion of, contact with, expo-              ened inhalation of, ingestion of, contact
         sure to, existence of, or presence of, any                  with, exposure to, existence of, or presence
         "fungi" or bacteria on or within a building or              of any "fungi" or bacteria on or within a
         structure, including its contents, regardless               building or structure, including its contents,
         of whether any other cause, event, material                 regardless of whether any other cause,
         or product contributed concurrently or in any               event, material or product contributed con-
         sequence to such injury or damage.                          currently or in any sequence to such injury.
      b. Any loss, cost or expenses arising out of the            b. Any loss, cost or expense arising out of the
         abating, testing for, monitoring, cleaning up,              abating, testing for, monitoring, cleaning up,
         removing, containing, treating, detoxifying,                removing, containing, treating, detoxifying,
         neutralizing, remediating or disposing of, or               neutralizing, remediating or disposing of, or
         in any way responding to, or assessing the                  in any way responding to, or assessing the
         effects of, "fungi" or bacteria, by any insured             effects of, "fungi" or bacteria, by any insured
         or by any other person or entity.                           or by any other person or entity.
      This exclusion does not apply to any "fungi" or      C. The following definition is added to the Definitions
      bacteria that are, are on, or are contained in, a       Section:
      good or product intended for bodily consump-            "Fungi" means any type or form of fungus, includ-
      tion.                                                   ing mold or mildew and any mycotoxins, spores,
                                                              scents or byproducts produced or released by
                                                              fungi.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 70 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. If aggregate insured losses attributable to terrorist       2. The act is a violent act or an act that is
   acts certified under the federal Terrorism Risk                 dangerous to human life, property or
   Insurance Act exceed $100 billion in a calendar                 infrastructure and is committed by an individual
   year and we have met our insurer deductible                     or individuals as part of an effort to coerce the
   under the Terrorism Risk Insurance Act, we shall                civilian population of the United States or to
   not be liable for the payment of any portion of the             influence the policy or affect the conduct of the
   amount of such losses that exceeds $100 billion,                United States Government by coercion.
   and in such case insured losses up to that amount        B. The terms and limitations of any terrorism
   are subject to pro rata allocation in accordance            exclusion, or the inapplicability or omission of a
   with procedures established by the Secretary of             terrorism exclusion, do not serve to create
   the Treasury.                                               coverage for injury or damage that is otherwise
   "Certified act of terrorism" means an act that is           excluded under this Coverage Part.
   certified by the Secretary of the Treasury, in
   accordance with the provisions of the federal
   Terrorism Risk Insurance Act, to be an act of
   terrorism pursuant to such Act. The criteria
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:
   1. The act resulted in insured losses in excess of
       $5 million in the aggregate, attributable to all
       types of insurance subject to the Terrorism
       Risk Insurance Act; and




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 76 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              EXCLUSION OF PUNITIVE DAMAGES
          RELATED TO A CERTIFIED ACT OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                           2. The act is a violent act or an act that is
   This insurance does not apply to:                               dangerous to human life, property or
                                                                   infrastructure and is committed by an individual
   TERRORISM PUNITIVE DAMAGES                                      or individuals as part of an effort to coerce the
   Damages arising, directly or indirectly, out of a               civilian population of the United States or to
   "certified act of terrorism" that are awarded as                influence the policy or affect the conduct of the
   punitive damages.                                               United States Government by coercion.
B. The following definition is added:                       C. The terms and limitations of any terrorism
                                                               exclusion, or the inapplicability or omission of a
   "Certified act of terrorism" means an act that is
                                                               terrorism exclusion, do not serve to create
   certified by the Secretary of the Treasury, in
   accordance with the provisions of the federal               coverage for injury or damage that is otherwise
   Terrorism Risk Insurance Act, to be an act of               excluded under this Coverage Part.
   terrorism pursuant to such Act. The criteria
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:
   1. The act resulted in insured losses in excess of
      $5 million in the aggregate, attributable to all
      types of insurance subject to the Terrorism
      Risk Insurance Act; and




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 21 84 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           EXCLUSION OF CERTIFIED NUCLEAR,
     BIOLOGICAL, CHEMICAL OR RADIOLOGICAL ACTS
     OF TERRORISM; CAP ON LOSSES FROM CERTIFIED
                 ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                             2. "Certified act of terrorism" means an act that is
   This insurance does not apply to:                                certified by the Secretary of the Treasury, in
                                                                    accordance with the provisions of the federal
   TERRORISM                                                        Terrorism Risk Insurance Act, to be an act of
   "Any injury or damage" arising, directly or                      terrorism pursuant to such Act. The criteria
   indirectly, out of a "certified act of terrorism".               contained in the Terrorism Risk Insurance Act
   However, this exclusion applies only when one or                 for a "certified act of terrorism" include the
   more of the following are attributed to such act:                following:
   1. The terrorism involves the use, release or                    a. The act resulted in insured losses in excess
       escape of nuclear materials, or directly or                      of $5 million in the aggregate, attributable to
       indirectly results in nuclear reaction or radiation              all types of insurance subject to the
       or radioactive contamination; or                                 Terrorism Risk Insurance Act; and
   2. The terrorism is carried out by means of the                  b. The act is a violent act or an act that is
       dispersal or application of pathogenic or                        dangerous to human life, property or
       poisonous biological or chemical materials; or                   infrastructure and is committed by an
                                                                        individual or individuals as part of an effort
   3. Pathogenic or poisonous biological or chemical
                                                                        to coerce the civilian population of the
      materials are released, and it appears that one
      purpose of the terrorism was to release such                      United States or to influence the policy or
      materials.                                                        affect the conduct of the United States
                                                                        Government by coercion.
B. The following definitions are added:
                                                              C. The terms and limitations of any terrorism
   1. For the purposes of this endorsement, "any                 exclusion, or the inapplicability or omission of a
      injury or damage" means any injury or damage               terrorism exclusion, do not serve to create
      covered under any Coverage Part to which this              coverage for injury or damage that is otherwise
      endorsement is applicable, and includes but is             excluded under this Coverage Part.
      not limited to "bodily injury", "property
      damage", "personal and advertising injury",
      "injury" or "environmental damage" as may be
      defined in any applicable Coverage Part.




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D. If aggregate insured losses attributable to terrorist
   acts certified under the federal Terrorism Risk
   Insurance Act exceed $100 billion in a calendar
   year and we have met our insurer deductible
   under the Terrorism Risk Insurance Act, we shall
   not be liable for the payment of any portion of the
   amount of such losses that exceeds $100 billion,
   and in such case insured losses up to that amount
   are subject to pro rata allocation in accordance
   with procedures established by the Secretary of
   the Treasury.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 96 03 05

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          SILICA OR SILICA-RELATED DUST EXCLUSION

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART



A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily                Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                        sonal And Advertising Injury Liability:
   2. Exclusions                                                 2. Exclusions
      This insurance does not apply to:                             This insurance does not apply to:
      Silica Or Silica-Related Dust                                 Silica Or Silica-Related Dust
      a. "Bodily injury" arising, in whole or in part, out          a. "Personal and advertising injury" arising, in
         of the actual, alleged, threatened or sus-                    whole or in part, out of the actual, alleged,
         pected inhalation of, or ingestion of, "silica"               threatened or suspected inhalation of, in-
         or "silica-related dust".                                     gestion of, contact with, exposure to, exis-
      b. "Property damage" arising, in whole or in                     tence of, or presence of, "silica" or "silica-
         part, out of the actual, alleged, threatened                  related dust".
         or suspected contact with, exposure to, ex-                b. Any loss, cost or expense arising, in whole
         istence of, or presence of, "silica" or "silica-              or in part, out of the abating, testing for,
         related dust".                                                monitoring, cleaning up, removing, contain-
      c. Any loss, cost or expense arising, in whole                   ing, treating, detoxifying, neutralizing, reme-
         or in part, out of the abating, testing for,                  diating or disposing of, or in any way re-
         monitoring, cleaning up, removing, contain-                   sponding to or assessing the effects of,
         ing, treating, detoxifying, neutralizing, reme-               "silica" or "silica-related dust", by any in-
         diating or disposing of, or in any way re-                    sured or by any other person or entity.
         sponding to or assessing the effects of,            C. The following definitions are added to the Defini-
         "silica" or "silica-related dust", by any in-          tions Section:
         sured or by any other person or entity.                 1. "Silica" means silicon dioxide (occurring in
                                                                    crystalline, amorphous and impure forms), sil-
                                                                    ica particles, silica dust or silica compounds.
                                                                 2. "Silica-related dust" means a mixture or combi-
                                                                    nation of silica and other dust or particles.




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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


                        ABSOLUTE ASBESTOS EXCLUSION

   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" involving
   or arising out of, directly or indirectly, asbestos, in any manner or form.

   This exclusion includes, but is not limited to, claims or "suits" concerning exposure or alleged exposure to
   asbestos, as well as claims or "suits" concerning the incorporation, presence, or removal of asbestos in any
   building, structure, or product.




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                                                                                                      Exhibit B - 050
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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


                               ABSOLUTE LEAD EXCLUSION

   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" arising
   out of the existence or control of the hazardous properties of lead, irrespective of the form or source of such
   lead.

   This exclusion applies, but is not limited to the following:

       1. To liability assumed under any contract or agreement;

       2. To any obligation to pay or indemnify any person, organization, or governmental agency for any portion
           of the injury, damage, or expense; and

       3. To any supervision, instructions, recommendations, requests, warranties or representations (expressed
           or implied), warnings, or advice given or which should have been given regarding the existence or
           control of the lead.

   When used in this exclusion:

   I. "Control" includes, but is not limited to testing, monitoring, abatement, clean-up, removal, containment,
       treatment, or disposal.

   II. "Form" means anything containing lead, including, but not limited to air, water, earth, dust, paint, plumbing
       solder, and pipes and fixtures.




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                                                                                                       Exhibit B - 051
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                                                                             COMMERCIAL GENERAL LIABILITY


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  AMENDMENT OF EMPLOYEE DEFINITION
                       (TEMPORARY EMPLOYEE)

   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   The definition of "Employee" in the Definitions Section is deleted and replaced by the following:
       "Employee" includes a "leased worker" or a "temporary worker".




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                                                                                   COMPREHENSIVE PERSONAL LIABILITY




       COMPREHENSIVE PERSONAL LIABILITY COVERAGE
Throughout this policy, "you" and "your" refer to the Named          EXCLUSIONS
Insured shown in the Declarations. The words "we", "us"              1. COVERAGE L. - Personal Liability and
and "our" refer to the Company providing this insurance.
                                                                          Coverage M. Medical Payments to Others do not apply
LIABILITY COVERAGES                                                       to "bodily injury" or "property damage":
COVERAGE L. PERSONAL LIABILITY                                            a. which is expected or intended by the "Insured"; or
If a claim is made or a suit is brought against any "Insured"             b. arising out of business pursuits of an "Insured" or
for damages because of "bodily injury", "property damage"                    the rental or holding for rental of any part of any
or "personal injury" caused by an "occurrence" to which                      premises by an "Insured".
this coverage applies, we will:
                                                                          This exclusion does not apply to:
a. pay up to our limit of liability for the damages for which
   the "Insured" is legally liable; and                                   (1) activities which are ordinarily incidental to non-
                                                                              business pursuits; or
b. provide a defense at our expense by counsel of our
   choice, even if the suit is groundless, false or                       (2) the rental or holdings for rental of a residence of
   fraudulent. We may make any investigation and settle                       yours:
   any claim or suit that we decide is appropriate. Our                       (a) on an occasional basis for the exclusive use
   obligation to defend any claim or suit ends when the                           as a residence; or
   amount we pay for damages resulting from the                               (b) in part for use only as a residence, unless a
   "occurrence" equals our limit of liability.                                    single family unit is intended for use by the
COVERAGE M. MEDICAL PAYMENTS TO OTHERS                                            occupying family to lodge more than two
We will pay the necessary medical expenses incurred or                            roomers or boarders; or
medically ascertained within three years from the date of                     (c) in part, as an office, school, studio or private
any accident causing "bodily injury". Medical expenses                            garage;
means reasonable charges for medical, surgical, x-ray,                    c. arising out of the rendering or failing to render
dental, ambulance, hospital professional nursing,                            professional services; or
prosthetic devices and funeral services. This coverage
does not apply to you or regular residents of your                        d. arising out of an oral or written publication or other
household other than "resident employees". As to others,                     forms of defamation that occurred prior to the
this coverage applies only:                                                  inception date of this policy; or
a. to a person on the "insured location" with the                         e. arising out of:
    permission of an "Insured"; or                                            (1) the ownership, maintenance, use, loading or
b. to a person off the "insured location", if the "bodily                         unloading of motor vehicles or all other
    injury":                                                                      motorized land conveyances, including
                                                                                  trailers, owned or operated by or rented or
    (1) arises out of a condition in the "insured location" or                    loaned to an "Insured"; or
        the ways immediately adjoining;
                                                                              (2) the entrustment by an "Insured" of a motor
        or                                                                        vehicle or any other motorized land
    (2) is caused by the activities of an "Insured"; or                           conveyance to any person; or
    (3) is caused by a "residence employee" in the course                     (3) statutorily imposed vicarious parental liability
        of the "residence employee's" employment by an                            for the actions of a child or minor using a
        "Insured"; or                                                             conveyance excluded in paragraph 1. or 2.
    (4) is caused by an animal owned by or in the care of                         above.
        an "Insured".                                                             This exclusion does not apply to:
                                                                                  (1) a trailer not towed by or carried on a
                                                                                      motorized land conveyance; or



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                                                                                                              Exhibit B - 053
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         (2) a motorized land conveyance designed for                       An aircraft means any contrivance used or designed
             recreational use off public roads, not subject to              for flight, except model or hobby aircraft not used or
             motor vehicle registration; or                                 designed to carry people or cargo.
         (3) a motorized golf cart; or                                    h. arising out of war, whether or not declared, or any
         (4) a vehicle or conveyance not subject to motor                    act or condition incident to war. War includes civil
             vehicle registration which is:                                  war, insurrection, rebellion or revolution.
             (a) used to service an "lnsured's" residence;                    Exclusions d., e., f., and g. do not apply to "bodily
                 or                                                           injury", property damage or personal injury to a
                                                                              residence employee arising out of and in the
             (b) designed for assisting the handicapped; or                   course of the residence employee's employment
             (c) in dead storage on an "insured location".                    by an Insured.
f. arising out of:                                                   2. Coverage L. - Personal Liability, does not apply to:
  (1) the ownership, maintenance, use, loading or                         a. liability:
      unloading of a watercraft described as follows:                         (1) for your share of any loss assessment
      (a) with inboard or inboard-outdrive motor power                            charged against all members of an
          more than 50 horsepower; or                                             association, corporation or community of
      (b) that is a sailing vessel, with or without auxiliary                     property owners; or
          power, 26 feet or more in length owned by or                        (2) under any contract or agreement.
          rented to an "Insured"; or                                               However, this exclusion does not apply to
      (c) powered by one or more outboard motors with                              written contracts:
          more than 50 total horsepower if the outboard                            (a) that directly relate to the ownership,
          motor is owned by an "Insured". But, outboard                                maintenance or use of an "insured
          motors of more than 50 horsepower are covered                                location"; or
          for the policy period if:
                                                                                   (b) where the liability of others is assumed by
           (i) you acquire them prior to the policy period                             the "insured" prior to an "occurrence";
               and you declare them at policy inception; or                            unless excluded in 1. above or elsewhere
           (ii) your intention to insure is reported to us in                          in this policy;
                writing within 45 days after you acquire the                  b. "property damage" to property owned by the
                outboard motors;                                                 Insured; or
           (iii) you acquire them during the policy period.                   c. "property damage" to property rented to,
           This exclusion does not apply while the                                occupied or used by or in the care, custody or
           watercraft is stored.                                                  control of the "Insured". This exclusion does
  (2) the entrustment by an "Insured" of a watercraft                             not apply to "property damage" caused by fire,
      described above to any person; or                                           smoke, explosion or water damage; or
  (3) statutorily imposed vicarious parental liability for the                d. "bodily injury" to any person eligible to receive
      actions of a child or minor using a watercraft                             any benefits required to be provided or
      described above.                                                           voluntarily provided by the "Insured" under any
                                                                                 Workers' or Workmen's Compensation, non-
g. arising out of:                                                               occupational disability, or occupational
  (1) the ownership, maintenance, use, loading or                                disease law; or
      unloading of an aircraft; or                                            e. "bodily Injury" or "property damage" for which
  (2) the entrustment by an "Insured" of an aircraft to any                      any "Insured" under this policy is also an
      person; or                                                                 "Insured" under a nuclear energy liability policy
                                                                                 or would be an "Insured" but for its termination
  (3) statutorily imposed vicarious parental liability for the
                                                                                 upon exhaustion of its limit of liability. A
      actions of a child or minor using an aircraft.
                                                                                 nuclear energy liability policy is a




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                                                                                                             Exhibit B - 054
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             policy issued by Nuclear Energy Liability               2. First Aid Expenses
             Insurance Association, Mutual Atomic Energy                We will pay expenses for first aid to others
             Liability Underwriters, Nuclear Insurance                  incurred by any "Insured" for "bodily injury"
             Association of Canada, or any of their                     covered under this policy. We will not pay
             successors.                                                for first aid to you or any other "Insured".
    3. Coverage M - Medical Payments to Others,                      3. Damage to Property of Others in Your Care
       does not apply to bodily injury:                                 Custody or Control
        a.     to a residence employee if the "bodily                We will pay up $500 per occurrence for
              injury" occurs off the "insured" location and          "property damage" to Property of Others
              does not arise out of or in the course of the          caused by an "Insured". We will not pay for
              "residence employee's" employment by any               "property damage":
              "Insured"; or
                                                                     a. caused intentionally by an "Insured" who is
        b. to any person eligible to receive any                        16 years of age or older; or
            benefits required to be provided or
            voluntarily provided under any Workers' or               b. to property owned by an "Insured"; or
            Workmen's Compensation, non-                             c. to property owned by or rented to a tenant
            occupational disability or occupational                      of an "Insured" or a resident in your
            disease law; or                                              household; or
        c. from any nuclear reaction, radiation or                   d. arising out of:
            radioactive contamination, all whether                       (1) business pursuits; or
            controlled or uncontrolled or however
            caused, or any consequence of any of                         (2) any act or omission in connection with
            these; or                                                        a premises owned, rented or controlled
                                                                             by an Insured, other than the insured
        d. to any person, other than a "residence                            location; or
            employee" of an "Insured", regularly
            residing on any part of the "insured                         (3) the ownership, maintenance, or use of
            location".                                                       aircraft, watercraft or motor vehicles or
                                                                             all other motorized land conveyances.
    ADDITIONAL COVERAGES                                                     This exclusion does not apply to a
                                                                             motorized land conveyance designed
    We cover the following in addition to the limits of
                                                                             for recreational use off public roads, not
    liability:
                                                                             subject to motor vehicle registration
    1. Claim Expenses                                                        and not owned by an Insured.
        We pay:
                                                                 DEFINITIONS
              a. expenses incurred by us and costs               1. "Bodily Injury" means bodily harm, sickness or
                 taxed against any "Insured" in any suit            disease, including required care, loss of
                 we defend; and                                     services and death that results.
              b. premiums on bonds required in a suit            2. "Business" includes trade, profession or
                 defended by us, but not for bond                   occupation.
                 amount greater than the limit of liability
                 for Coverage L. We need not apply for           3. "Insured" means you and:
                 or furnish a bond; and                              a. your relatives who are part of your
              c. reasonable expenses incurred by an                  household; and
                  "Insured" at our request, including                b. other persons under age 21 living with you
                  actual loss of earnings (but not loss of              and under the care of a person named
                  other income) up to $100 per day for                  above; and
                  assisting us in the investigation or
                                                                       c. with respect to animals or watercraft to
                  defense of a claim or suit; and                         which this policy applies, any person or
           d. interest on the entire judgment which                       organization legally responsible for these
               accrues after entry of the judgment and                    animals or watercraft which are owned by
               before we pay or tender or deposit in                      you or any person included in 3a. or 3b. A
               court the part of the judgment which                       person or organization using or having
               does not exceed the limit of liability that                custody of these animals or watercraft in
               applies.                                                   the course of any business, or without
                                                                          consent of the owner is not an Insured; and
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                                                                                                       Exhibit B - 055
             Case 2:22-cv-04685 Document 1-1 Filed 07/08/22 Page 55 of 66 Page ID #:67


        d. with respect to any vehicle to which this                 b. "property damage"; or
           policy applies:                                           c. "personal injury".
           (1) persons while engaged in your employ              7. "Property damage" means physical injury to,
               or that of any person included in 3a. or             destruction of, or loss of use of tangible
               3b. above; or                                        property.
           (2) other persons using the vehicle on an
                                                                 8. "Residence employee" means:
               "insured location" with your consent.
                                                                     a. an employee of an Insured whose duties
    4. "Insured location" means:
                                                                        are related to maintenance or use of the
        a. the residence premises; and                                  residence premises, including household or
        b. that part of any other premises, other                       domestic services; or
            structures and grounds, used by you as a                 b. one who performs similar duties elsewhere
            residence and which is shown in the                         not related to the business of an Insured.
            Declarations or which is acquired by you
                                                                 9. "Residence premises" means a one to four
            during the policy period for your use as a
                                                                    family dwelling, other structures and grounds or
            residence; and
                                                                    that part of any other building where you reside
        c. any premises used by you in connection                   and which is shown as the "residence
           with the premises included in 4a. or 4b.;                premises" in the Declarations.
           and
        d. any part of a premises not owned by any               CONDITIONS
           "Insured" but where any "Insured" is                  1. Limit of Liability
           temporarily residing; and
                                                                     Regardless of the number of Insureds, claims
        e. vacant land, other than farm land, owned by               made, or persons injured, total liability under
           or rented to an "Insured"; and                            Coverage L stated in this policy for all damages
        f.    land owned by or rented to any "Insured" on            resulting from any one "occurrence" shall not
               which a one or two family dwelling is being           exceed the limit of liability for Coverage L stated
               constructed as a residence for an                     in the policy. The limit is the same regardless of
               "Insured";and                                         the number of "Insureds", claims made or
                                                                     persons injured.
        g. individual or family cemetery plots or burial
            vaults of an "Insured"; and                              Our total liability under Coverage M for all
                                                                     medical expense payable for bodily injury to
        h. any part of a premises occasionally rented
                                                                     one person as the result of one accident will not
           to any "Insured" for other than business
                                                                     exceed the limit of liability for Coverage M
           purposes.
                                                                     stated in this policy.
    5. "Personal Injury" means injury other than "bodily
                                                                 2. Severability of Insurance
       injury", arising out of one or more of the
       following offenses:                                           This insurance applies separately to each
                                                                     "Insured". This condition will not increase our
        a. false arrest, detention or imprisonment;
                                                                     limit of liability for any one "occurrence".
        b. malicious prosecution;
                                                                 3. Duties after Loss
        c. the wrongful eviction from wrongful entry
                                                                     In case of an accident or "occurrence", the
            into, or invasion of the right of private
                                                                     "Insured" will perform the following duties that
            occupancy of a room, dwelling or premises
                                                                     apply. You will help us by seeing that these
            that a person occupies by or on behalf of its
                                                                     duties are performed:
            owner, landlord or lessor;
                                                                     a. give written notice to us or our agent as
        d. oral or written publication of material that
                                                                        soon as practicable, which sets forth:
           slanders or libels a person or organization
           including other forms of defamation; or                       (1) the identity of the policy and "Insured";
                                                                             and
        e. oral or written publication of material
           including other forms of defamation that                      (2) reasonably available information as to
           violates a person's right of privacy.                             the time, place and circumstances of
                                                                             the accident or "occurrence"; and
    6. "Occurrence" means an accident, including
       continuous or repeated exposure to conditions,                    (3) names and addresses of any claimants
       which results during the policy period, in:                           and witnesses;
       a. "bodily Injury"; or
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                                                                                                        Exhibit B - 056
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       b. promptly forward to us every notice,                 8. Other Insurance - Coverage L       Personal
          demand, summons or other process                        Liability
          relating to the accident or "occurrence"; and             This insurance is excess over any other valid
       c. at our request, help us:                                  and collectible insurance except insurance
           (1) to make settlement; and                              written specifically to cover as excess over the
                                                                    limits of liability that apply in this policy.
           (2) to enforce any right of contribution or
               indemnity against any person or                 9. Policy Period
               organization who may be liable to an                 This insurance applies only to "bodily injury" or
               "Insured"; and                                       "property damage" which occurs on and after
           (3) with the conduct of suits and attend                 the policy effective date and during the policy
               hearings and trials; and                             term.
           (4) to secure and give evidence and obtain          10. Subrogation
               the attendance of witnesses.                         Any "Insured" may waive in writing before a loss
       d. under the coverage "Damage to the                         all rights of recovery against any person. If not
          Property of Others" submit to us within 60                waived, we may require an assignment of rights
          days after the loss, a sworn statement of                 of recovery for a loss to the extent that payment
          loss and exhibit the damaged property, if                 is made by us.
          within the "Insured's" control; and                       If an assignment is sought, any "Insured" shall
       e. the "Insured" will not, except at the                     sign and deliver all related papers and
           "lnsured's" own cost, voluntarily make any               cooperate with us in any reasonable manner.
           payment, assume any obligation or incur                  Subrogation does not apply to Medical
           any expense other than for first aid to                  Payments to Others or Damage to Property of
           others at the time of the "bodily injury".               Others.
   4. Duties of an Injured Person-Coverage M -                 11. Concealment or Fraud.
      Medical Payments to Others The injured person                 We do not provide coverage for an "Insured"
      or someone acting for the injured person will:                   who has:
       a. give us written proof of claim, under oath if             a. intentionally concealed or misrepresented
          required, as soon as is practical; and                        any material fact or circumstance; or
       b. execute authorization to allow us to obtain               b. made false statements or engaged in
          copies of medical reports and records; and                   fraudulent conduct relating to this
       c. the injured person will submit to physical                   insurance.
           examination by a physician selected by us           12. Liberalization Clause
           when and as often as we reasonably
           require.                                                 If we adopt any revision which would broaden
                                                                    the coverage under this policy without
   5. Payment of Claim - Coverage M Medical                         additional premium within 60 days prior to or
      Payments to Others Payment under this                         during the policy period, the broadened
      coverage is not an admission of liability by any              coverage will immediately apply to this policy.
      insured or us.
                                                               13. Waiver or Change of Policy Provisions
   6. Suit Against Us
                                                                    A waiver or change of any provision of this
       No action shall be brought against us unless                 policy must be in writing by us to be valid. Our
       there has been compliance with the policy                    request for an appraisal or examination shall
       provisions.                                                  not waive any of our rights.
       No one will have any right to join us as a party        14. Assignment
       to any action against an "Insured". Also, no
       action with respect to Coverage L will be                    Assignment of this policy shall not be valid
       brought against us until the obligation of the               unless we give our written consent.
       "Insured" has been determined by final                  15. Death
       judgment or agreement signed by us.                          If you or any member of your household dies
   7. Bankruptcy of any "Insured"                                   while a resident of your household, we insure:
       Bankruptcy or insolvency of an "Insured" will not            a. the legal representative of the deceased but
       relieve us of any of our obligations under this                 only with respect to the premises or
       policy.

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                                                                                                      Exhibit B - 057
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           property covered under this policy at the            c. If this policy is canceled, the premium for the
           time of death; and                                       period from the date of cancellation to the
       b. with respect to your property, the person                 expiration date will be refunded as follows:
          having proper temporary custody of the                    If you request cancellation, the return premium
          property until appointment and qualification              will be based on our short rate rules; if we
          of a legal representative has occurred.                   cancel, the return premium will be pro rata.
                                                                    If the return premium is not refunded with the
   16. Cancellation                                                 notice of cancellation or when this policy is
       a. You may cancel this policy at any time by                 returned to us, we will refund it within a
          returning it to us or by notifying us in writing          reasonable time after the date cancellation
          of the date cancellation is to take effect.               takes effect.
       b. We may cancel this policy by notifying you
          at least 10 days before the date
          cancellation takes effect. This cancellation
          notice may be delivered to you, or mailed to
          you at your mailing address in the
          Declarations. Proof of mailing shall be
          sufficient proof of notice.




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                                                                                                     Exhibit B - 058
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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


                             CROSS LIABILITY EXCLUSION

   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   This insurance does not apply to any claim made or "suit" brought by or on behalf of your parent corporation, a
   subsidiary of your parent corporation or your subsidiary. This insurance also does not apply to any claim made
   or "suit" brought by or on behalf of any insured covered hereunder against any other insured covered by this
   policy.

   This exclusion does not apply to a person or organization that would not be an insured under this policy except
   for an endorsement to this policy adding them as an additional insured.




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                                                                                                     Exhibit B - 059
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                                                                                           GENERAL LIABILITY



              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              EXCLUSION - COMMUNICABLE DISEASES



This insurance does not apply to “bodily injury,” “property damage,” “personal and advertising injury” or medical
payments arising out of the transmission of any communicable diseases by an insured.




GL 0025 0610                                   Page 1 of 1

                                                                                                   Exhibit B - 060
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                                                                              COMMERCIAL GENERAL LIABILITY


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    EXCLUSION                    DESIGNATED ACTIVITIES
   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                      SCHEDULE
   Description of Designated Activities:
   Excludes Special Events, Promotion, Live Performances, Motion Picture &/or Video
   Production unless declared and approved by underwriter prior to exposure
   commencement.




   Specified Location (If Applicable):




   Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

   The following exclusion is added to Paragraph 2., Exclusions of Section I.     Coverage A Bodily Injury And
   Property Damage Liability and to Paragraph 2., Exclusions of Section I.        Coverage B Personal And
   Advertising Injury Liability:

   This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" arising
   out of the activities described in the Schedule of this endorsement, regardless of whether such activities are
   conducted by you or on your behalf or whether the activities are conducted for you or for others.

   Unless a "location" is specified in the Schedule, this exclusion applies regardless of where such activities are
   conducted by you or on your behalf. If a specific "location" is designated in the Schedule of this endorsement,
   this exclusion applies only to the described activities conducted at that "location".

   For the purpose of this endorsement, "location" means premises involving the same or connecting lots, or
   premises whose connection is interrupted only by a street, roadway, waterway or right-of-way of a railroad.



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                                                                                                      Exhibit B - 061
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                                                                              COMMERCIAL GENERAL LIABILITY



                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     EXCLUSION - FIREWORKS
            WITH EXCEPTION FOR CONCUSSION EFFECTS,
                   FLASHPOTS AND SMOKEPOTS

   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   A. The following exclusion is added to Paragraph 2., Exclusions of Section I. Coverage A Bodily Injury
      And Property Damage Liability and to Paragraph 2., Exclusions of Section I. Coverage B Personal
      And Advertising Injury Liability:

       This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury"
       arising out of fireworks, pyrotechnic devices, or any explosive materials.

       This exclusion does not apply to any "concussion effect", "flashpot" or "smokepot" that is induced electrically
       in a cylinder with no projectile, wadding or wrapping and is used to create visual effects and/or an explosive
       noise.

   B. For the purpose of this endorsement, the following definitions apply:

       1. "Concussion effect" means an effect intended to produce a loud noise and a violent jarring shock for
          dramatic effect.
       2. "Flashpot" means a device containing flashpowder and intended to produce a flash of light and capable
          of directing the flash in an upward direction.
       3. "Smokepot" is a pyrotechnic device used to create smoke.




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                                                                                                       Exhibit B - 062
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                                                                              COMMERCIAL GENERAL LIABILITY


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


      EXCLUSION PERSONAL AND ADVERTISING INJURY
           LIABILITY - ENTERTAINMENT INDUSTRY
   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   The following exclusion is added to Paragraph 2., Exclusions of Section I.     Coverage B       Personal And
   Advertising Injury Liability:
       This policy does not apply to:
       "Personal and advertising Injury" arising out of the development, creation, pre-production, production,
       postproduction, distribution, exploitation, writing, broadcasting, airing, performing or exhibition of films,
       television/cable programs, radio programs, stage plays, video/audio cassettes, music, sheet music,
       computer programs, books or other similar materials, and properties; or to any advertising or broadcasting
       activities.




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                                                                                                       Exhibit B - 063
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                                                                             COMMERCIAL GENERAL LIABILITY


                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          KNOWLEDGE OF OCCURRENCE
   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   Paragraph a. of 2.Duties In The Event of Occurrence, Offense, Claim or Suit under SECTION IV.
   COMMERCIAL GENERAL LIABILITY CONDITIONS, is deleted and replaced by the following:
   a. You must notify us as soon as practicable of an "occurrence" or an offense which may result in a claim. You,
      your insurance manager, or someone acting on your behalf, must give this notice to us or to any of our
      authorized agents as soon as practicable after you know of the "occurrence" or offense. To the extent
      possible, notice should include:
      (1) How, when and where the "occurrence" or offense took place;
      (2) The names and addresses of any injured persons and witnesses; and
      (3) The nature and location of any injury or damage arising out of the "occurrence" or offense.




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                                                                                                   Exhibit B - 064
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                                                                               COMMERCIAL GENERAL LIABILITY


                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     LIMITATION                   NO STACKING OF OCCURRENCE LIMITS
                                      OF INSURANCE
   This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART


   The following condition is added to Section IV. Commercial General Liability Conditions:
   Two or More Coverage Forms or Policies Issued By Us

       If this policy and any other policy, policies or coverage form(s) issued to you by us or any of our affiliated
       companies apply to the same or related damages, the most that will be paid by us and our affiliated
       companies either individually or collectively for the sum of all those damages is the single largest applicable
       Each Occurrence Limit or similar per occurrence limit of insurance available under any one of those policies
       or coverage forms. Same or related damages include the continuation of injury or damages from a prior
       policy period into a subsequent policy period, or any injury or damage resulting from the same cause or
       "occurrence."
       However, this provision does not apply to umbrella or similar policies or coverage forms that are purchased
       specifically to apply in excess of another policy or coverage form that is scheduled as underlying insurance.
       In no event will coverage be provided during the policy period after (1) the applicable aggregate Limit of
       Insurance under any one coverage form or policy has been exhausted, or (2) the applicable aggregate Limit
       of Insurance under any one coverage form or policy would have been exhausted had all covered claims
       been submitted under that one coverage form or policy rather than under two or more coverage forms or
       policies.
       The terms of this endorsement will govern as respect the application of any limits of insurance. If this policy
       or coverage form contains any other language regarding limits of insurance that is in conflict with the terms
       of this endorsement, such other language is subject to the terms of this endorsement.




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                                                                                                       Exhibit B - 065
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Policy Number: GL201800012500
Renewal of Number: NEW

        COMPREHENSIVE PERSONAL
          LIABILITY COVERAGE
             DECLARATIONS


Item 1. Named Insured and Mailing Address                               Agent Named and Address Sub-Producer : 00609
                                                                        Integro USA, Inc.
 Under the Black Sky, Inc.
 As Per Named Insured Extension Schedule                                21650 Oxnard St., Suite 2350
 c/o MACIAS, GINI & O'CONNELL                                           Woodland Hills, CA 91367-7824
 2029 Century Park East, #1500
 Los Angeles, CA 90067




Item 2. Policy Period             From: 07/18/2018      To: 07/18/2019
                                  At 12:01AM Standard Time at the Mailing Address Shown Above
Item 3. Limits of Liability

Coverage L. Personal Liability                                $1,000,000          Each Occurrence
Coverage M. Medical Payment                                   $5,000             Each Person


Item 4. “Residence Premises”

 1


 Loc.          Premises Location                                                   Premium Base        Rate       Premium
 1             CPL ‐ Primary Residence
 Additional Coverage:         Terrorism - Certified Acts
 Policy Premium:
 Taxes, Surcharges and Fees:




Item 6. Form(s) and Endorsement(s) made a part of the policy at time of issue:

Countersigned:
Date: _______________________________________________ By: _____________________________________
        THIS POLICY TOGETHER WITH THE POLICY CONDITIONS, COVERAGE PARTS AND FORMS AND
                   ENDORSEMENTS, IF ANY, COMPLETE THE ABOVE NUMBERED POLICY




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                                                                                                              Exhibit B - 066
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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                            GL 0452 0416

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     CALIFORNIA
        EXCLUSION – ACCESS OR DISCLOSURE OF
      CONFIDENTIAL OR PERSONAL INFORMATION AND
             DATA-RELATED LIABILITY – WITH
           LIMITED BODILY INJURY EXCEPTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Exclusion 2.p. of Section I – Coverage A –                         As used in this exclusion, electronic data
   Bodily Injury And Property Damage Liability is                     means information, facts or programs
   replaced by the following:                                         stored as or on, created or used on, or
   2. Exclusions                                                      transmitted to or from computer software,
                                                                      including    systems      and     applications
      This insurance does not apply to:                               software, hard or floppy disks, CD-ROMs,
      p. Access Or Disclosure Of Confidential Or                      tapes, drives, cells, data processing
         Personal Information And Data-related                        devices or any other media which are used
         Liability                                                    with electronically controlled equipment.
         Damages arising out of:                            B. The following is added to Paragraph 2.
                                                               Exclusions of Section I – Coverage B –
         (1) Any access to or disclosure of any
                                                               Personal And Advertising Injury Liability:
             person's or organization's confidential or
             personal information, including patents,          2. Exclusions
             trade secrets, processing methods,                    This insurance does not apply to:
             customer lists, financial information,
             credit    card    information,     health             Access Or Disclosure Of Confidential Or
             information or any other type of                      Personal Information
             nonpublic information; or                             "Personal and advertising injury" arising out of
         (2) The loss of, loss of use of, damage to,               any access to or disclosure of any person's or
             corruption of, inability to access, or                organization's    confidential   or    personal
             inability to manipulate electronic data.              information, including patents, trade secrets,
                                                                   processing methods, customer lists, financial
         This exclusion applies even if damages are                information, credit card information, health
         claimed for notification costs, credit                    information or any other type of nonpublic
         monitoring expenses, forensic expenses,                   information.
         public relations expenses or any other loss,
         cost or expense incurred by you or others                 This exclusion applies even if damages are
         arising out of that which is described in                 claimed for notification costs, credit monitoring
         Paragraph (1) or (2) above.                               expenses, forensic expenses, public relations
                                                                   expenses or any other loss, cost or expense
         However, unless Paragraph (1) above                       incurred by you or others arising out of any
         applies, this exclusion does not apply to                 access to or disclosure of any person's or
         damages because of "bodily injury".                       organization's     confidential   or    personal
                                                                   information.




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                                                 its permission.                                   Exhibit B - 067
